Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 1 of 74

 

 

Leah Abdullah Muhammad Mabry
c/o 1814 Breton Hunt Ln

Suwanee, Georgia a
non-domestic

 

 

 

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district court for the United States

for the Middle District of Georgia

 

UNITED STATES OF AMERICA, in Admiralty

)
) Case NO. 5:02-CR-27-1-H1
)
v. ) MOTION TO POST BONDS FOR
) SETTLEMENT AND CLOSURE
DWIGHT D YORK, a/k/a MALAKATI ) OF THIS CASE AND TO SECURE
Z. YORK, ISA MUHAMMAD, ISA ) IMMEDIATE RELEASE OF
ALIHAD MAHDI & BABA ) RELEASE OF INMATE NO.
Defendant ) 17911-054, DEFENDANT
)

 

Leah Abdullah Muhammad Mabry, EX and )
third party intervenor for The Estate of ISSA)
AL Haadi Al Mahdi, dba DWIGHT D dba )
DWIGHT D YORK )

 

MOTION TO POST BONDS FOR SETTLEMENT AND CLOSURE

COMES NOW Leah Abdullah Muhammad Mabry, EX, a Real Party in Interest, who is
neutral in the public, making a special visitation by absolute ministerial right to the
district court, “restricted appearance” under Rule E (8), who is unschooled in law and
notices the court of enunciation of principles as stated in Haines y. Kerner, 404 U.S. 519,
wherein the court has directed that those who are unschooled in law making pleadings
and/or complaints shall have the court look to the substance of the pleadings rather than
in the form, and hereby makes the following pleadings/notices in the above referenced
matter without waiver of any defenses.

 

This is a verified plain statement of facts

I, Leah Abdullah Muhammad Mabry Executor, for and on behalf of: ISSA AL HAADI
AL MAHDI ESTATE, A.K.A DWIGHT D. YORK hereby pledge assets in support of
the bond(s) to serve as collateral, book-entry security Certificate No,:8523 ABA/ Cusip
No.: 923839, in exchange to secure any default / losses in favor of the United States of
this transaction. Accept these valuable tokens tendered in good faith for settlement and
closure on Case No.: 5:02-CR-27-1-HL, and immediate release of inmate #17911-054
held at cio ADMAX FLORENCE, FEDERAL CORRECTIONAL INSTITUTION, 5880
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 2 of 74

HWY 67 SOUTH, FLORENCE, COLORADO 81226 where relief can be granted, Further
and that I will well and faithfully discharge the duties of this estate reposed in me according
to law (48 CFR subpart 28.2, 31 CFR pt.225) on which I am about to enter. So help me God.
Requesting that inmate #17911-054 currently held at c/o ADMAX Florence Federal
Correctional Institution, 5880 HWY 67 SOUTH, Florence, Colorado 81226, be released
immediately to the c/o Leah A. Mabry 1814 Breton Hunt Ln, Suwanee, Georgia 30024

WHEREFORE, having shown this honorable Court good cause and reason for the
immediate

settlement and closure of this case, it is requested that an order be issued from this court:

Directing the Clerk of Court to post the enclosed bonds or effect collection upon them,

and

Release the defendant, inmate No.17911-054 to the care of Leah Abdullah Muhammad Mabry,
Executor, a Real Party in interest, at 1814 Breton Hunt Ln, Suwanee Georgia 30024

and

Directing the Clerk of Court to have NOTICE sent to Warden Blake Davis and Associate Warden L.J.
Milusnic of ADMAX Florence Federal Correctional Institution, 5580 HWY 67 SOUTH, Florence,
Colorado 81226, and all corresponding agencies;

Granting such other and further relief that the court may deem just and proper.

Enclosures:

1. Standard Form: 28 Affidavit of individual Surety; Certificate of Deposit; Standard Form 24
Bid Bond; Standard Form 25 Performance Bond; Standard Form 25A Payment Bond;
Optional Form 90 Release Lien of Property; Optional form 91 Release on Personal Property
from Escrow;

2. Power of Attorney; Power of Attorney Form 2848; IRS Form 56 Notice Concerning
Fiduciary Relationship;

3. Indictment; Arrest Warrant
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 3 of 74

<td din Y a
By Lal Lull lai: th itil. agent, UCC 3-402 (b) (1)

Leah Abdullah Mabry, Executor, Lawful woman

COMMERCIAL OATH AND VERIFICATION

I, Thomas Michael Haney, certify under my unlimited liability Commercial Oath and
having first hand knowledge of the facts with competence that the statements and facts

are, true, correct, complete and certain, and the truth the whole truth and nothing but the
truth.

/
i My) 0 pt

Leah Abdullah Mabry, Executor; Lawful woman

Georgia state )
) affirmed under oath
Fulton county )

The above affiant, Leah Abdullah Mabry appeared before me a Notary in his true
character and affixed his signature to the above document and affirmed under oath this

30 dayof_\Q** __ month, 2011.

howard

NOTARY

 

NOTARY PUBLIC
FULTON COUNTY GEORGIA
MY COMMISSION EXPIRES

DECEMBER 4, 2015

 
Case 5:02-cr-00027- can CHW Document 514 Filed 01/04/12 Page 4 of 74
RE 543 O60 7349 US

 

AFFIDAVIT OF INDIVIDUAL SURETY OMB Number. 9000-0001
(See instructions on reverse) Expires: 09/30/2014

 

Public reporting burden for this collection of information is estimated to average 0.4 hours per response, including the time for reviewing instructions, searching existing data sources,
gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any other aspect of this
collection of information, including suggestions for reducing this burden, to the Reguiatory Secretariat (VPR), Office of Acquisition Policy, GSA, Washington, DC 20405,

 

   
 
 
   

 

STATE OF i. Leah Abdullah Muhammad Mabry Executor, tor and on behalf oFISSA AL HAADLAL MARDI ESTATE, hereby el iedge assets
. in eupport of the bord(s) to serve as coll feel book “entry security Cariificate No.8523 ABA/ Cusip No.: 922839, in exchange to sequre
Georgia ary defaulliosses in vepl these valuable tokens tendered in good faith for setilement
SS. and closure on Case inmate #1794 i O64 held al cfo AD MAX mores FEDERAL
COUNTY OF CORRECTIONAL N, ,
BIBB thet | will well and faithfully discharge the duties of this estate renewed in me according te tawe 8 CFR ‘subpaet 28. 2 31 CFR
pi 225) on which | am aboul to enter. So help me God.

 

 

|, the undersigned, being duly sworn, depose and say that! am: (1) the surety to the attached bond(s); (2) a citizen of the United States; and of full age and
legally competent. | also depose and say that, conceming any stocks or bonds included in the assets listed below, that there are no restrictions on the resale of
these securities pursuant to the registration provisions of Section 5 of the Securities Act of 1933. | recognize that statements contained herein concern a matter
within the jurisdiction of an agency of the United States and the making of a faise, fictitious or fraudulent statement may render the maker subject to prosecution
under Title 18, United States Code Sections 1001 and 494. This affidavit is made to induce the United States of America to accept me as surety on the
attached bond.

 

 

1. NAME (First, Middle, Last) (Type or Print) 2. HOME ADDRESS (Number, Street, City, State, ZIP Code)
Case No.: 5:02-CR-27-1-HL
: cio UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
Dwight D. York (Trust) 475 Mulberry Street, Macon, Georgia 31202
3. TYPE AND DURATION OF OCCUPATION 4. NAME AND ADDRESS OF EMPLOYER (/f Self-employed, so State)
EXECUTOR/ ADMINISTRATOR FOR THE SURETY ISSA AL HAADI AL MAHDI ESTATE

(EIN) XX-XXXXXXX / US DOT No. 2189148
BOND No.: 8523 Massachusetts

 

5. NAME AND ADDRESS OF INDIVIDUAL SURETY BROKER USED 6. TELEPHONE NUMBER
‘Number, Street, City, State, ZIP Code,
Ot Depository Trust Ay, Stale, ZF ode) HOME - 71 9-784-9 100
Certificaie No.: 8523
55 Water Street, Fifth Floo: ee s ,
$5 Wale Soot ith oe BUSINESS - 478-752-3497

 

 

7. THE FOLLOWING IS A TRUE REPRESENTATION OF THE ASSETS I HAVE PLEDGED TO THE UNITED STATES IN SUPPORT OF THE ATTACHED BOND:
(a) Real estate (include a legal description, street address and other identifying description; the market value; attach supporting certified documents including recorded
tien; evidence off fitle and the current fax assessment of the property. For market value approach, also provide a current appraisal.)

See Attached: Ceriificate OF DEPOSIT! American Depository receipt ABA/ usp No. 823839

See Attached: STANDARD FORM 24: BID BOND RES4a3060645

See Altached: STANDARD FORM 25: PERFORMANCE BOND Reses0s06s sus

See Attached: STANDARD FORM: 254: PAYMENT BOND  RES43060668US

See Atlached: OPTIONAL FORM 90: RELEASE OF LIEN OF PROPERTY RES49080671US

See Attached: OPTIONAL FORM 91: RELEASE ON PERSONAL PROPERTY FROM ESCROW RES543060685US

See Attached: CASE NUMBER: §:02-CR-27-1-HL

See Attached: INDICTMENT: 5:02-CR-27-1-HL  RES43060899US

See Attached: WARRANT FOR ARREST: §:02-CR-27-1-HL RES44060708US

See Attached: IRS FORM 56: NOTICE CONCERNING FIDUCIARY RELATIONSHIP RES43050711US

ti M 2848: PO) E ATTORNEY AN! Ni OF REPRESENTATIVE RES430607;

(by Assets ot a her than Teal e aie S (describe the asso BS the detals of the escrow account, and alach certified evidence thereof).

SEE ESCROW ACCOUNT: TOP Trace No. 897927756, ESTATE EXCEPTION ACCOUNT No.: 064360272

SEE ATTACHED: CERTIFICATE OF DEPOSIT/ AMERICAN DEPOSITORY RECIEPT ABA/ Cusip No.: 923833

SEE ATTACHED: STANDARD FORM 24: BID BOND RES43060645US

SEE ATTACHED: STANDARD FORM 25: PERFORMANCE BOND RES43060654US

SEE ATTACHED: STANDARD FORM 254: PAYMENT BOND = RESa30q0e68US

SEE ATTACHED: STANDARD FORM 56: NOTICE CONCERNING FIDUCIARY RELATIONSHIP = RES 43060711US

 

8. IDENTIFY ALL. MORTGAGES, LIENS, JUDGEMENTS, OR ANY OTHER ENCUMBRANCES INVOLVING SUBJECT ASSETS INCLUDING REAL ESTATE TAXES DUE AND
PAYABLE.

SEE ATTACHED: CASE NUMBER: 5:02-CR-27-1-HL / 5:02-CR-27(CAR}

SEE ATTACHED: INDICTMENT: 5:02-CR-27-1-HL (A TRUE BILL)

SEE ATTACHED: WARRANT FOR ARREST: 5:02-CR-27-1-HL_ _ RES43060708US

SEE ATTACHED OPTIONAL FORM 90: RELEASE OF LIEN OF PROPERTY  RES43080671US

SEE ATTACHED OPTIONAL FORM 91: PAYMENT BOND — RES43060685US

 

9. IDENTIFY ALL BONDS, INCLUDING BID GUARANTEES, FOR WHICH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITHIN 3 YEARS PRIOR TO THE DATE OF
EXECUTION OF THIS AFFIDAVIT.

SEE ATTACHED: CERTIFICATE OF DEPOSIT/ AMERICAN DEPOSITORY RECIEPT ABA/ Cusip.: 923833

SEE ATTACHED: STANDARD FORM 24: BID BOND RE543060645US

SEE ATTACHED: STANDARD FORM 25: PERFORMANCE BOND RE5430606845US

SEE ATTACHED: STANDARD FORM 25A: PAYMENT BOND —RE543060668US

SEE ATTACHED: STANDARD FORM 90: RELEASE OF LIEN OF PROPERTY RES43060671US

SEE ATTACHED: OPTIONAL FORM 91: RELEASE ON PERSONAL PROPERTY FROM ESCROW RES43060685US

DOCUMENTATION OF THE PLEDGED ASSET MUST BE ATTACHED.
411. BOND AND CONTRACT TO WHICH THIS AFFIDAVIT RELATES (Where Appropriate)

| Guarantee Bond(s), backed by the Full Faith and Credit (Art. IV Secet ve ter,
an obligation security of the United State as defined in 18 USC, 8 section 8.

48 OC TOE ee g

  
 
 
 
 

  
 

 

 

 

 

 

 

 

 

 

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c. NAME AND TITLE OF OFFICIAL ADMINISTERING OATH fd. SIGNATURE e. MY COMMISSION * . “4 5 o 2
(Type or print) s EXPIRES we ot fa : ;
THOMABS Vick REL Yarler | star ayo dan! Honor aI \301 oe “ s.
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AUTHORIZED FOR LOCAL REPRODUCTION “ STANDARD FORM 28. ee Biaoos) ‘

Previous edition is not usable Prescribed by GSA-FAR (48 CFR) 53:226(¢)
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 5 of 74

INSTRUCTIONS

1. Individual sureties on bonds executed in connection with Government contracts must complete and submit
this form with the bond. (See 48 CFR 28.203, 53.228(e).) The surety must have the completed form notarized.

2. No corporation, partnership, or other unincorporated association or firm, as such, is acceptable as an
individual surety. Likewise, members of a partnership are not acceptable as sureties on bonds that a
partnership or an association, or any co-partner or member thereof, is the principal obligor. However,
stockholders of corporate principals are acceptable provided (a) their qualifications are independent of their
stockholdings or financial interest therein, and (b) that the fact is expressed in the affidavit of justification. An

individual surety will not include any financial interest in assets connected with the principal on the bond that
this affidavit supports. ,

3. United States citizenship is a requirement for individual sureties for contracts and bonds when the contract is
awarded in the United States. However, when the Contracting Officer is located in an outlying area or a foreign

country, the individual surety is only required to be a permanent resident of the area or country in which the
contracting officer is located.

4. All signatures of the affidavit submitted must be originals. Affidavits bearing reproduced signatures are not
acceptable. An authorized person must sign the bond. Any person signing in a representative capacity (e.g.,
an attorney-in-fact) must furnish evidence of authority if that representative is not a member of a firm,
partnership, or joint venture, or an officer of the corporation involved.

 

STANDARD FORM 28 (REV. 6/2003) BACK
Case 5:02-cr-00027-GAR-Gk be eg ae ty Hepe0t/04/t2— Page 6 of 74

 

DATE BOND EXECUTED (Must not be later than bid
; BID BOND opening date) OMB NO.: 9000-0045
( See instructions on reverse) MAY 7, 2002 Expires: 41/30/2012

 

 

 

Public reporting burden for this collection of information is estimated to average 25 minutes per response, including the time for reviewing instructions, searching existing data
sources, gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any other
aspects of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington, DC

20405.

 

 

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION (“X" one)
DWIGHT D. YORK (TRUST) INDIVIDUAL [] PARTNERSHIP
Case No. 5:02-CR-27-7-HL
cio IN THE UNITED STATES DISTRICT COURT C] JOINT VENTURE | CORPORATION
FOR THE MIDDLE DISTRICT OF GEORGIA
Me Mutberty Steet 0° STATE OF INCORPORATION
acon, Georgia 34 .
Bond No.: 8523 Massachusetts

 

SURETY(IES) (Name and business address).

ISSA AL HAADI AL MAHDI ESTATE
Certificate No.: 8523

clo Depository Trust Company (Asset Holders)
55 Water Street, Fifth Floor

New York, New York 10041

 

 

 

 

 

 

 

 

 

 

 

 

PENAL SUM OF BOND BID IDENTIFICATION
PERCENT AMOUNT NOT TO EXCEED BID DATE INVITATION NO,
Price | MILLION (S) | THOUSAND(S) | HUNDRED(S)- | CENTS MAY 7, 2002 5:02-CR-27-1-HL
FOR (Construction, Spe lee eh Or
50 6Go 660 oo supplies, or Services) eee colewaa INSTITUTION, 5886 HWY 67 SOUTH, FLORENCE, COLORADO 61226,
OBLIGATION

We, the Principal and Surety (ies) are firmly bound to the United States of America (hereinafter call the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as "severally" only for the
purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit or liability is the full amount
of the penal sum.

CONDITIONS:
The principal has submitted the bid identified above.

THEREFORE:

The above obligation is void if the Principal - (a) upon acceptance by the Government of the bid identified above, within the period specified therein for

acceptance (sixty (60) days if no period is specified), executes the further contractual documents and gives the bond(s) required by the terms of the

bid as accepted within the time specified (ten (10 days if no period is specified) after receipt of the forms by the principal; or (b) in the event of failure
to executes such further contractual documents and give such bonds, pays the Government for any cost of procuring the work which exceeds the
amount of the bid.

Each surety executing this instrument agrees that its obligations is not impaired by any extension(s) of the time for acceptance of the bid that the
principal may grand to the Government. Notice to the surety (ies) of extensions (s) are waived. However, waiver of the notice applies only to extensions
aggregating not more than sixty (60) calendar days in addition to the periods originally allowed for acceptance of the bid.

WITNESS
The principal and Surety (ies) executed this bid bond and affixed their seals on the above date.

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRINCIPAL
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‘ (Seal) (Seal) Corporate
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(Seal)
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NAME & mie : E OF INC. LIABILITY LIMIT ($)
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@ | NAME(S) & | 14. 2.
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AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 24 (REV: 10-98)

Pervious edition is usable Prescribed by GSA - FAR (48 CFR) 53.228(a)
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 7 of 74

 

NAME & STATE OF INC. LIABILITY LIMIT ($)
ADDRESS

 

 

Corporate

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SIGNATURE(S) | 2. Corporate
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SURETY G

 

NAME(S) &. [1. 2.
TITLE(S)
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INSTRUCTIONS

1. This form is authorized for use when a bid guaranty is required. any deviation from this form will require the written approval of the
Administrator of General Services. ,

2, Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form. An authorized
person shall sign the bond. Any person signing in a representative capacity (e.g., ab attorney-in-fact) must furnish evidence of authority if that
representative is not a member of the firm, partnership, or joint venture, Oran officer of the corporation involved.

3. The bond may express penal sum as a percentage of the bid price. In these cases, the bond may state a maximum dollar limitation
(e.g., 20% of the bid price but the amount not to exceed dollars). > .

4. (a) Corporation executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act
within the limitation listed therein. where more than one corporate surety is involved, their.names and address shall appear in the spaces
(Surety A, Surety B, etc.) headed "CORPORATE SURETY (IES).” In the space designed "SURETY (IES)" on the face of the form, insert only
the letter identification of the sureties. vO

(b) Where individual sureties are involved, a completed Affidavit of individual surety (Standard Form 28), or each individual surety, shall
accompany the bond. The Government may require the surety to furnish additional substantiating information concerning its financial
capability.

5. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the word " Corporate Seal".
and shall affix an adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

6. Type the name and title of each person signing this bond in the space provided.

7_In its application to negotiated contracts, the terms "bid" and "bidder" shall include "proposal" and "Offeror."

STANDARD FORM 24 (REV. 10-98) BACK
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 8 of 74
; RE 543 ObO bS4 US

 

 

PERFORMANCE BOND conte EXECUTED (Must be same or later than date of OMB No. 9000-0045

(See instructions on reverse) MAY 7, 2002 Expires: = 11/30/2012

 

 

 

Public reporting burden for this collection of information is estimated to average 25 minutes per response, including the time for reviewing instructions, searching existing data
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aspect of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington,
DC 20405

 

 

 

 

 

 

 

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION ("X" one)
DWIGHT D. YORK (TRUST)
Case No.: 5:02-CR-27-1-HL [X] INDIVIDUAL [_] PARTNERSHIP
clo IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA [| JOINT VENTURE [_] CORPORATION
475 Mulberry Street Macon, Georgia 31202 STATE OF INCORPORATION
Bond No. 8523 Massachusetts
SURETY (IES) (Name(s) and business address(es) PENAL SUM OF BOND
ISSA AL HAADI AL MAHDI. ESTATE MILLION(S) THOUSANDS HUNDRED(S) | CENTS
Certificate No.: 8523 50 900 g00 00
clo Depository Trust Company (Asset Holder}
55 Water Street, Fifth Floor CONTRACT DATE CONTRACT NO.
New York, New York 10041
MAY 7, 2002
Case No.: 5:02-CR-27-1-HL

 

 

 

OBLIGATION

We, the Principal and Surety (ies), are firmly bound to the Unites States of America (hereinafter called the Government) in the above penal sum. For

payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the

Sureties are corporations acting as co-sureties, bind ourselves in such sum "jointly and severally" as well as "severally" only for the
purpose of allowing a joint action against any or all of us. for all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the timit of liability is the full amount
of the penal sum.

CONDITIONS

The Principal has entered into the contract identified above.
THEREFORE

The above obligation is void if the Principal-

(a)(1) Performs and fulfills all the undertaking, covenants, terms, conditions, and agreements of the contract during the original term of the
contract and any extensions thereof that are granted by the Government, with or without notice of the Surety(ies) and during the life of any guaranty
required under the contract, and (2) performs and fulfills all the undertakings, covenants, terms conditions, and agreements of any and all duly
authorized modifications of the contract that hereafter are made. Notice of those modifications to the Surety(ies) are waived.

(b) Pays to the Government the full amount of the taxes imposed by the Government, if the said contracts is subject to the Miller Act, (40 U.S.C.
270a-270e), which are collected, deducted, or withheld from wages paid by the Principal in carrying out the construction contract with respect to
which this bond is furnished.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WITNESS
The Principal and Surety(ies) executed this performance bond and affixed their seals on the above date.
PRINCIPAL.
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NAME(S) & . Seal
(Type Leah A. Mabry, Executor
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Crped) Leah A. Mabry, Executor
NAME & LIABILITY LIMIT ($)
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AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 25 (REV. 5-96)

Previous edition not usable Prescribed by GSA-FAR (48 CFR) 53.228 (b)
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 9 of 74

 

CORPORATE SURETY(IES) (Continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BOND RATE PER THOUSAND (§) TOTAL ($)
PREMIUM
INSTRUCTIONS

1. This form is authorized for use in connection with Government
contracts. Any deviation from this form will require the written
approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal-in,
the space designated "Principal" on the face of the form. An

authorized person shall sign the bond. Any person signing in a — ,

representative capacity (e.g., and attorney-in-fact) must furnish -
evidence of authority if that representative is not a member of the firm,
partnership, or joint venture, or an officer of the corporation involved.

3. (a) Corporations executing the bond as sureties must appear on
the department of the Treasury's fist of approved sureties and must
act within the limitation listen therein. Where more than one corporate
surety is involved, their names and addresses shall appear in the
spaces (Surety A, Surety B, etc.) headed "CORPORATE

SURETY(IES)." In the space designated "SURETY(IES)" on the
face of the form, insert only the letter identification of the sureties.

(b) Where individual sureties are involved, a completed Affidavit

* ‘of. Individual Surety (standard Form 28) for each individual surety,
.; Shall accompany the bond. The Government may require the surety
- to furnish additional substantiating information concerning their

financial capability.

4. Corporation executing the bond shall affix their corporate seals.
Individual shall execute the bond opposite the word " Corporate
Seal", and shall affix an adhesive seal if executed in Maine, New
Hampshire, or any other jurisdiction requiring adhesive seals.

5. Type the name and title of each person signing this bond in the
space provided.

 

STANDARD FORM 25 (REV. 5-96) BACK
Case 5:02-cr- 0002 7-CAR EH, -Decument 514-Filed- 04/04/12 Page 10 of 74
RE 543 060 bbS US

 

DATE BOND EXECUTED (Must be same or later than date of
PAYMENT BOND contract) OMB No.:9000-0045

(See instructions on reverse) MAY 7, 2002 Expires: 11/30/2012

 

 

 

Public reporting burden for this collection of information is estimate to average 25 minutes per response, including the time for reviewing instructions, searching existing data sources,
gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any other aspect of this
collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington, DC 20405.

 

PRINCIPAL (Legal name and business address) TYPE OF ORGANIZATION ("X” one)

One Na. PO Cao. AD INDIVIDUAL [_] PARTNERSHIP
clo UNITED STATES DISTRICT COURT VENTURE

FOR THE MIDDLE DISTRICT OF GEORGIA L] soir venru [_] corrorarion
475 Mulberry Street

 

STATE OF INCORPORATION

Macon, GEORGIA 31202 Bond No.: 8523 Massachusetts

 

 

 

 

 

 

SURETY(IES) (Name(s) and business address(es) PENAL SUM OF BOND
ISSA AL HAADI AL MAHDI ESTATE MILLION(S) | THOUSAND(S) | HUNDRED(S) | CENTS
Certificate No.: 8523 a0
clo Depository Trust Company (Asset Holder) 58 000 °0
55 Water Street, Fifth Floor CONTRACT DATE CONTRACT NO.

New York, New York 10041
MAY 7, 2002 Case No.:5:02-CR-27-1-HL

 

 

 

OBLIGATION:

We, the Principal and Surety(ies), are firmly bound to the United States of America (hereinafter called the Government) in the above penal
sum. for payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However,
where the Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum “jointly and severally" as well as
"severally" only for the purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself,
jointly and severally with the Principal, for the payment of the sum shown opposite the name of the Surety. If no limit is indicated, the limit of
liability is the full amount of the penal sum.

CONDITIONS:

The above obligation is void if the Principal promptly makes payment to all persons having a direct relationship with the Principal or a
subcontractor of the Principal for furnishing labor, material or both in the prosecution of the work provided for in the contract identified above,
and any authorized modifications of the contract that subsequently are made. Notice of those modifications to the Surety(ies) are waived.

WITNESS:

The Principal and Surety(ies) executed this payment bond and affixed their seals on the above date.

 

PRINCIPAL

 

   

(Seal) (Seal) Corporate
Seal

 

1.
SIGNATURE(S) j x TM | \
-

NAME(S) &
TITLE(S)
(Typed) Leah A. Mabry, Executor

SIGNATURE(S) "Huns ) . Tick Zu : (Seal)

NAME(S)
(Typed) ‘Leah A. Mabry, Executor

 

 

 

 

 

 

 

 

 

NAME & os a LIABILITY LIMIT
ADDRESS wn USA $

 

 

1. 2.
SIGNATURE(S) Corporate
ea

 

NAME(S) &
TITLE(S)
(Typed)

AUTHORIZED FOR LOCAL REPRODUCTION STANDARD FORM 25A (REV. 10-98)
Previous edition is usable Prescribed by GSA-FAR (48 CFR) 53.2228(c)

SURETY A
nN

 

 

 

 

 
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12

Page 11 of 74

 

CORPORATE SURETY(IES) (Continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INSTRUCTIONS

1. This form, for the protection of persons supplying labor and material, is
used when a payment bond is required under the Act of August 24, 1935, 49
Stat. 793 (40 U.S.C. 270a-270e). Any deviation from this form will require the
written approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the

space designated "Principal" on the face of the form. An authorized person °

shall sign the bond. Any person signing in a representative capacity (e.g., an
attorney-in-fact) must furnish evidence of authority if that representative is not
a member of the firm, partnership, or joint venture, or an officer of the
corporation involved.

3. (a) Corporations executing the bond as sureties must appear on the
Department of the Treasury's list of approved sureties and must act within the
limitation listed therein. Where more than one corporate surety is involved,
their names and addresses shall appear in the spaces (Surety A, Surety B,
etc.) headed "CORPORATE SURETY (IES)."

In the space designated "SURETY(IES)” on the face of the form, insert only
the letter identification of the sureties.

(b) Where individual sureties are involved, a completed Affidavit of
Individual Surety (Standard Form 28) for each individual surety, shall
accompany the bond. The Government may require the surety to furnish
additional substantiating information concerning their financial capability.

4. Corporations executing the bond shall affix their corporate seals.
Individuals shall execute the bond opposite the word "Corporate Seal", and
shall affix an adhesive seal if executed in Maine, New Hampshire, or any
other jurisdiction requiring adhesive seals.

5. Type the name and title of each person signing this bond in the space
provided.

 

STANDARD FORM 25A (REV. 10-98) BACK
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 12 of 74

 

RELEASE OF LIEN ON REAL PROPERTY

Whereas ISSAAL HAADLAL MAHDIESTATE __, of BOND No.: 8523, Massachusetts , by a bond
(Name) (Place of Residence)
for the performance of U.S. Government Contract Number XX-XXXXXXX / USDOT No. 2189148

 

became a surety for the complete and successful performance of said contract, which bond includes a lien
upon certain real property further described hereafter, and

Whereas said surety established the said lien upon the following property

SEE INMATE #17911-054 HELD AT clo ADMAX FLORENCE, FEDERAL CORRECTIONAL INSTITUTION, 5880 HWY 67 SOUTH, FLORENCE, COLORADO 81226
SEE ATTACHED: VITAL RECORDS CHILD ID No.. 8523, Massachusetts

SEE ATTACHED: STANDARD FORM 24: BID BOND  RE543060645US

SEE ATTACHED: STANDARD FORM 25: PERFORMANCE BOND RE543060654US

SEE ATTACHED: STANDARD FORM 254: PAYMENT BOND RES43060668US

SEE ATTACHED: OPTIONAL FORM 91: RELEASE ON PERSONAL PROPERTY FROM ESCROW RE543060685US
SEE ATTACHED: STANDARD FORM 28: AFFIDAVIT OF SURETY RE543060739US

SEE ATTACHED: CASE NUMBER: 6:02-CR-27-1-HL

SEE ATTACHED: INDICTMENT. 5:02-CR-27-1-HL (A TRUE BILL) RES43060699US.

SEE ATTACHED: WARRENT FOR ARREST. 6.02-CR-27-1-HL RE543060708US

SEE ATTACHED: STANDARD FORM 56: NOTICE CONCERNING FIDUCIARY RELATIONSHIP RES43060711US

and recorded this pledge on case No: §:02-CR-27-1-HL., fo IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
(Name of Land Records)

 

in the 475 Mulberry Street, Macon Georgia 31202 County Bibb of Georgia 31202 ;
(Locality) (State)

and

Whereas, |, Leah Mabry, Executor , being a duly

 

authorized representative of the United States Government as a warranted contracting officer, have
determined that the lien is no longer required to ensure further performance of the said Government
contract or satisfaction of claims arising therefrom,

and

Whereas the surety remains liable to the United States Government for continued performance
of the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases the aforementioned line.

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NOTARY PUBLIC cs fe *

F ULTONauNGY ee mobader n PWOTAR YE OPTIONAL FORM 90 (REV. 1:
MY COMMISSION EXPIRES nm Pome: Preserbod by GSA-FAR (48CFR) 53200 (n)
DECEMBER 4, 2015 mt

 

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at

 
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 13 of 74

  
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 14 of 74

 

 

RELEASE OF PERSONAL PROPERTY FROM ESCROW

 

 

Whereas [iSSAAL HAADI AL MAHDLESTATE , of BOND No.: 8523 , by a bond
(Name) (Place of Residence)
for the performance of U.S. Government Contract Number XX-XXXXXXX / USDOT No. 2189148 __,

 

became a surety for the complete and successful performance of said contract, and Whereas said
surety has placed certain personal property in escrow

in Account Number CASE No.: 5:02-CR-27-1-HL on deposit

at clo IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
(Name of Financial Institution)

located at 475 Mulberry Street Macon, County of Bibb, Georgia 31202 , and
(Address of Financial Institution)

Whereas I, LEAH A. MABRY, EXECUTOR , being a duly authorized

representative of the United States government as a warranted contracting officer, have determined
that retention in escrow of the following property is no longer required to ensure further performance

of the said Government contract or satisfaction of claims arising therefrom:
SEE ESCROW ACCOUNT: TOP Trace No. 897927756, ESTATE EXCEPTION ACCOUNT NUMBER 064350272
SEE ATTACHED: CERTIFICATE OF DEPOSIT / AMERICAN DEPOSITARY RECIEPT ABA/ CUSIP No.: 923839
SEE ATTACHED: STANDARD FORM 24: BIDBOND RE543060645US
SEE ATTACHED: STANDARD FORM 25: PERFORMANCE BOND RES543060654US
SEE ATTACHED: STANDARD FORM 254A, PAYMENT BOND RES543060668US
SEE ATTACHED: OPTIONAL FORM 90: RELEASE OF LIEN OF PROPERTY RE543060671US
SEE ATTACHED: STANDARD FORM 28: AFFIDAVIT OF SURETY RE543060739US
SEE ATTACHED: CASE NUMBER: 5.02-CR-27-1-HL
SEE ATTACHED: INDICMENT: 5:02-CR-27-1-HL (A TRUE BILL) RE543060699US
SEE ATTACHED: WARRANT FOR ARREST: 5:02-CR-27-1-HL RES43060708US
and SEE ATTACHED: STANDARD FORM 56: NOTICE CONCERNING FIDUCIARY RELATIONSHIP RES430607 11US

Whereas the surety remains liable to the United States Government for the continued performance of
the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases from escrow the
property listed above, and directs the custodian of the aforementioned escrow account to deliver the
listed property to the surety. If the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein to the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to

USA
(Name of Financial Institution)

 

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NOTARY PUBLIC a oy LM *
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: . OPTIONAL FORM 91 (1-
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Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 15 of 74

  
Case 5:02-cr-00027-CAR-CHW Document514 Filed 01/04/12 Page 16 of 74

 

 

12003836-1

United States of America

 

DEPARTMENT OF STATE
To all to whom these presents shall come, Greetings:

I Certify That the document hereunto annexed is under the Seal of the State(s) of
Massachusetts, and that such Seal(s) is/are entitled to full faith and credit.*

*For the contents of the annexed document,the Department assumes no responsibility
This certificate is not valid if it is removed or altered in any way whatsoever

In testimony whereof, I, Hillary Rodham Clinton, Secretary of
State , have hereunto caused the seal of the Department of State to be
affixed and my name subscribed by the Assistant Authentication
Officer, of the said Department, at the city of Washington, in the
District of Columbia, this second day of November, 2011.

Issued pursuant to CHAIV, State of
Sept. 15, 1789, 1 Stat. 68-69; 22

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USC 2657; 22USC 265la; 5 USC )

| Secretary of State
301; 28 USC 1733 et. seg.; 8 USC By } “nono hoon
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Civil Procedure.
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Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 17 of 74

The Commonwealth of Massachusetts

William Francis Galvin
Secretary of the Commonwealth

 

C-27

C 1555862

Boston, Massachusetts October 4, 2011
I hereby certify

that at the date of the attestation hereunto annexed,

Stanley E. Nyberg

Registrar of MA
duly Appointed

and that to his/her acts and attestations, as such, full faith and

credit are and ought to be given in and out of Court; and further,
that his/her signature to the annexed instrument is genuine.

In testimony of which, | have hereunto affixed the

Great Seal of the Commonwealth

 

on the first date above written’

2
oe

 

William Francis Galvin
Secretary of the Commonwealth

 

 

 

prepared by ODGittens

 
Cc fe Commonwealth of Massachusetts

DEPARTMENT OF PUBLIC HE

The Commonwealth of Massachusetts
‘OFFICE OF THE SECRETARY _ City, oR :
DIVISION OF. VITAL STATISTICS. 6

STANDARD. “Registered No,.
onl OF BIRTH

(if birth ‘occurred ina hospital or institution,
give its NAME instead, ‘of street and number)

If child is not-yet named, make
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(City or Town)

 

 

 

 

 

 

 

 

 

 

 

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GNATURE OF :
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AUG 1 5 a0 Registrar of Vital Records and Statistics

: I, the undersigned, hereby certify that am the Registrar of Vital Records and cea
that as such I have custody of the records of birth, marriage, and death required by law. to

be a in aay office; and Ido hereby certify that the above is a true copy, from said
records.

IT IS ILLEGAL TO ALTER OR REPRODUCE THIS DOCUMENT IN ANY MANNER

 
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 19 of 74
RE S43 O60 725 US

ACKNOWLEDGMENT

Grant of Exclusive Power of Attorney to conduct all
tax, business, and legal affairs of principal person.

POWER OF ATTORNEY

1) DWIGHT D YORK, a/k/a MALAKAI Z. YORK, ISA MUHAMMAD, ISSA ALIHAD MAHDI &
BABA, ADMAX Flotence Federal Correctional Institution, 5580 HWY 67 SOUTH, Florence, Colorado
81226 does hereby appoint, Leah Abdullah Muhammad Mabry, EX, a Real Party in Interest, at 1814 Breton
Hunt Ln, Suwanee, Georgia 30024 state as my Private attorney in fact, to take exclusive charge of, manage,
and conduct all of my tax, business and legal affairs, and for such purpose to act for me in my name and

place, without limitation on the powers necessary to catry out this exclusive purpose of attorney in fact as
authorized:

(A) To take possession of, hold, and manage my teal estate and all other property;
(B) To receive money or property paid or delivered to me from any source;

(C) To deposit funds in, make withdrawals from, or sign checks or drafts against any account
standing in my nate individually or jointly in any bank or other depository, to cash coupons,
bonds, or certificates of deposits to endorse checks, notes or other documents in my natne; to
have access to, and place items in ot remove them from, any safety deposit box standing in my
name individually, and otherwise to conduct bank transactions or business for me in my name;

(D) To pay my just debts and expenses, including reasonable expenses incurred by my attorney in
fact, Leah Abdullah Muhammad Mabry, EX in exercising this exclusive power of attorney;

(E) To retain any investments, invest, and to mvest in stock, bonds or other secutities, or in real
estate or other property;

(F) To give general and special proxies or exercise rights of conversion or tights with respect to
shares or securities, to deposit shates or securities with, or transfer them to protective
committees or similar bodies, to join in any reorganization and pay assessments or subscriptions
called for in connection with shares or securities.

(G) To sell, exchange, lease, give options, and make contracts concerning real estate or other
ptoperty for such considerations and on such terms as my attorney in fact Leah Abdullah
Muhammad Mabry, EX, may consider prudent;

(H) To improve or develop teal estate, to construct, alter, or repair building structures and
appurtenances or real estate; to settle boundary lines, easements, and other rights with respect to
real estate; to plant, cultivate, harvest, and sell or otherwise dispose of crops and timber, and do
all things necessaty or appropriate to good husbandry;

() To provide for the use, maintenance, repait, security, or storage of my tangible property;

J) To purchase and maintain such policies of insurance against lability, fire, casualty, or other risks
as my attorney in fact, Leah Abdullah Muhammad Mabry, EX may consider prudent;

2) The term “exclusive” shall be construed to mean that while these powers of attotney are in force, only my
attorney in-fact may obligate me in these matters, and I forfeit the capacity to obligate myself with regard to
same. This grant of Exclusive Power is Irrevocable during the lifetime of the Leah Abdullah Muhammad
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 20 of 74

Mabry, EX;

Executed and sealed by the voluntary act of my own hand, this 0 day of | e- C Er Bebo.

This instrument prepared by: Leah Abdullah Muhammad Mabry, EX.

Acceptance:

DWIGHT D YORK, a/k/a MALAKAIT Z. YORK, ISA MUHAMMAD, ISSA ALIHAD MAHDI
& BABA, GRANTOR

I, the above named exclusive attorney-in fact,
do hereby accept the fiduciary interest of the
herein-named Debtot-Grantor and will
execute the herein-granted
power-of-attorney with

due diligence.

Executor, Secured Party, Attorney in Fact
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 21 of 74

ANPR SERIE tne tam Meme ee

 

 

 

 

 

 

 

 

 

 

 

 

Power of Attorney Telephone
Caution: Fort 2848 will not be honored for any purpose other than representation belore the IRS. function
4 “Taxpayer information. Taxpayer's) must sign and date this fort-on page 2, ling 9. Date f i
Taxpayer nameis} and address Social security number(s} Employer identification
ISSA AL HAADIAL MAHDI ESTATE dba ISSA AL HAADIAL MAHDI ___064 36 number
CIO PO BOX.993
SUWANEE GA, 30024 ne 48 6459576
Daytime telephone number Plan number ff applicable}
( 478 } nla
hereby anpointis! the jollowing representativels} as attomey(s}in-fact:
2 Representative(s} must sign aod date this form on page 2, Part h.
Nanie and address GAE No.
Leah Abdullah Muhammad Mabry Telephone No. (478)3187730
CIO PO BOX.993 Fay No.
SUWANEE, GA 30024 Chadkf new: Address ] Telephone Se.C | Pax no, CI
Name and address CAF No.
Tetephone No.
Fax Nas
Check if new: Address [1] Telephone No! Fax No. CO)
Name and address CAP No.
Telephone No.
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Sheck fnew Address Li Telephone No. C] Fax No.)

 

 

to fenresent the taxpayeris} elore the intemal Revenue Servite for the following tax matters:

3 Yax matters

 

Type of Tax Uncoms, Employment, Exnise, eto)

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or Civil Penalty gee the instructions for Ine 3}

Yearie) or Periodig)
M040 B41, 720 ete)

igee the instructions for Ine 3)

 

Estate; Gifts and all applicable taxes

All Applicable forms 4945 to here and after

 

 

 

 

 

Specific uee not recerdad on Centralized Authorization File (CAF). If the power of atlorney is for a specitic use not recorded on CAF,
gheok thig box, See the instructions for Line 4, Specific Uses Not Regordad an CAF »

AGk# authérized. The representatives are authorized to receive and inspect confidential tax information and to perform any and.all ects that
{ bee) can perform with respect te the tax matters desoribed on lined, tor example, the authonty to sign any agreements, consents, oF other
documents. The authority does hot Include the power to fecelve refurid checks (see line § below), the power to substitute another. representative
anadd additional representatives, the power to sign certain fetus, or the power te éxdcute a request for disclosure of tax retums of retum
information to adhid party, See the jine 5 instructions for more information.

Excentions. Ay-unenrolled.retum preparer canst sign any decument for a taxpayer and may only represent laxpayers in ined Stuations.
See Unenrolied Return Preparer-on page 1 of the instructions. An enrolled actuary may only represent taxpayers to the extent provided in
section 10.360) of Treasury Oepariment Clrowdar No. 230 (Oiroular 280), An enrolled retirement plan acirninistrator may only represent taxpayers
to the extent Srovidied: dr ection 16.316) of Cinular 290. See the fine & instructions for résitictions on tax matters partners. In mest cases,
the Student Brabtitioner’s davels k arid § auitharity i limited Gor exaihple, they may oily practiod under the supervision of andther practitioner)

List any spudifie additions of delelians 10 the acts otherwise aulhorized in this power af attorney: nla

 

For Privacy Act and Paperwork eduction Act Notice, see page 4-of the instructions. Cat. No. 170802

Receipt of refund checks. If you wart io authorize a representative named on line 2 to receive, BUT NOT TO ENDORSE OR CASH, refund
shecks, indtial here and lst the nainié.of that raniesentative below.

Name of representative to recsive refund check(s!

Form 2844 Rev. 6-2008)
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 22 of 74

a ifyau iso want the second rapreserianve ustes to receive a cupy ye teamse ars waysttisintemenen nay wees wore oe en
b if you'do-not wand any notices or communieations sent to your representatives), check this box »
8  Retehtionfevacation of prior power(s) of attorney, The Ming of this power of attormey automatically revexss all earlier’ power{s} of
attomay on tle with the intemal Revenue Service tor the sale tax matters and years or perlads coversd by this document. tysude not _
want to revoke @ prior power of attormey, check here >»
YoU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO. REMAIN IN EFFECT.

9 Signature of taxpayers). iH atax matter concerne 2 joint réturn, Both husband and wife ‘must sign it joint representation is requested,
otherwise, see the instructions. U signed by a corporate officer parner, guardian, tax matters partner, execitor, receiver, administrator, or
trustee on behalf of the taxpayer, | certify that | Rave the authonty to execute this form on behalf of the taxpayer.

® If NOT SIGNED. AND DATED, THIS POWER OF ATTORNEY WILL BE RETURNED.

hind yl ; Wade lo-jqhel Co-Executor

Signature Date Title Gf applicable)
Leah A. Muhammad Mabry co Cl Ql oO 4SSA. AL HAADI AL MAHDI EX, Executor
Print. Name PIN Number Print name. of taxpayer from line.( if other than individual
Signature Date Tile ff applicable)
OOOO
Print Name PIN Number

 

GREET Declaration of Representative

Caution: Studants with a special onder fo represent taxpayers it qualifies Low Income Taxpayer Clinics or the Student Tax Cline Program flavels

Rand }, see the instructions for Part il.

Under penallies ot pérury, | declare that: /

# Lat not curently under suepension of disbarment from prattice before the internal Revenue Service:

® | ant aware of regulations contdined In Ciroular.230 81 OFA, Part 40), as amended, conceming the practice of aliomeys, certified public

accountants, enrolled agents, entolled actuares, and others;

© | ani authorized {6 regresent the taxpayers) identified In Part | for the tax matieris specified there: and

@ 1) avn ond. of the following: /

Altoney--a mamnber in. good standing of the bar of the highest.caurt of the jurisdiction shown below.

Geltified Public Accountant-—duly qlaified to practice ag'a certified public accountant In the Jurisdiction shown below.

Enrolled Agent—enrolied as an agent under the requirements-of Girewar 220.

Officar-~a.bona fide officer of the taxpayer's organization.

Full-Time: Employee~a full-time employes of the taxpayer.

Sarslly Metnber—~a member of the taxpayer's Immediaie Tamily Gor example, spouse, parent, child, brother, or sistes).

Enrolled Actuary—enrailed as a8 actiary by the Jdint Board for tie Enrollment of Actuaties under 29 U.S.C. 1242. the authorty-to

practice Before ihe interal Revenue Service is Imited by section 70.2(d) of Olroular'2a0). ¢

Unenrolled Return Preparer—the authority to practice before the Internal Revenue Service js limited by Ciraular 234, section

TO7ROETIVEL You must have prepared the return in question arid the return: must be under examination by ihe (AS. See Unenralfed

Return Preparer on page 1 of the insiructions.

k Stutient Atormey--etudent whe receives permission to practice before the IRS by Virtue of thelr status a8 a law shident. under section
TO Aid of Oleular 230.

i Student CPA—stucant who receives permission {9 practice before the IAS by virtue of thelr ctwius as a CPA student under section
TO7Ffeh of Cleeadar 236,

r Enrolled Retirement Plan Agent—enralied_ae a retirement plan agent under the requirements of Glroular 230 fhe authority to practice
betore the Infernal Reverne Serviow is imded by section 10.die)..

}® IF THIS DECLARATION OF REPRESENTATIVE IS NOT SIGNED AND DATED, THE POWER OF ATTORNEY WILL
BE RETURNED..See the Part H instructions:

Designation--Insert | Jurisdiction (state) or
above latter far} identification

F Estate

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Signature Date

 

 

 

 

 

 

 

Form 2BAB Rev. 6.2008)
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. RE S543 O80 711 US
Form 56

 

 

 

(Rew, December 2007 Notice Concerning Fiduciary Relationship OMB No. 1848-0013
Department of the Treasury ,

(intemal Revenue Service (internal Revenue Code sections 6036 and 6903)

Identification

Name of person for whom you are acting (as shown on the tax return) Identifying number Decedent's social security no.
ISSA AL HAADI AL MAHDI (Estate) dba DWIGHT D. YORK (TRUST) XX-XXXXXXX 064 136! 0272

 

 

Address of person for whom you are acting (number, street, and room or suite no.)
cio 1814 Breton Hunt Ln, Suwanee Georgia 30024

City or town, state, and ZIP code (If a foreign address, see instructions.)
Suwanee, Georgia 30024

Fiduciary’s name

Gregory J. Leonard, Clerk of court dba IN THE UNITED DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA

Address of fiduciary (number, street, and room or suite no.)

clo Case No. 5:02-CR-27-1-HL / 475 Mulberry Street

City or town, state, and ZIP code

Macon, Georgia 31202

Authority

1 Authority for fiduciary relationship. Check applicable box: | AN a 4
AY

Telephone number (optional)

(478 )752 - 3497

 

  

 

(2) Date of death 2222220
2) Date (see instructions)

  

b(1) Gl Court order appointing fiduciary
ck] Valid trust instrument and amendment
d Other. Describe » Post.bonds for settlement of case

misc, Nature of Liability and Tax Notices

 

Year(s) or period(s) (if estate tax, date of death) B _MAY 7, 2002 - Herein (RELEASE IMMEDIATELY)

If the fiduciary listed in Part | is the person to whom notices and other written communications should be sent for all items

described on lines 2,3, and 4, check here. 7 |). we ee ee ee ee
6 If the fiduciary listed in Part | is the person to whom notices and other written communications should be sent for some (but not all)

of the items described on lines 2, 3, and 4, check here and list the applicable federal tax form number and the year(s) or

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Give notice to all corresponding Agencies / Trustees
cut i, Revocation or Termination of Notice

Section A—Total Revocation or Termination

 

7 Check this box if you are revoking or terminating all prior notices concerning fiduciary relationships on file with the Internal
Revenue Service for the same tax matters and years or periods covered by this notice concerning fiduciary relationship . B&B
Reason for termination of fiduciary relationship. Check applicable box:

a Court order revoking fiduciary authority

b C1 Certificate of dissolution or termination of a business entity

Cc Other. Describe P As directed Post Bond(s) for settlement of Case, No. 5:02-CR-27-1-HL, when posted delete / Seal Case from records
Section B—Partial Revocation

8a Check this box if you are revoking earlier notices concerning fiduciary relationships on file with the Internal Revenue Service for
the same tax matters and years or periods covered by this notice concerning fiduciary relationship . . 2. . 2... . OB
b Specify to whom granted, date, and address, including ZIP code.

 

Section C-—~Substitute Fiduciary

8 Check this box if a new fiduciary or fiduciaries have been or will be substituted for the revoking or terminating fiduciary and
specify the name(s) and address(es), including ZIP code(s), of the new fiduciaryfies). . . . . oe

> NOTICE: DEPOSIT BONDS / CERTIFICATE OF DEPOSIT. TO the c/a United States Treasury / Treasurer. for.settlement_of CASE. No,5:02-CR-27-1-HL,
Notice: Secretary of the treasury / treasurer in the even funds or credit misapplied, ermberzied, purloined taken or concealed of this transaction.

For Paperwork Reduction Act and Privacy Act Notice, see back page. Cat. No, 16375! Form 56 (Rev. 12-2007}
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 24 of 74

 

 

 

 

 

Form 56 (Rev. 12-2007) Page 2
eae Court and Administrative Proceedings

Name of court (if other than a court proceeding, identify the type of proceeding and name of agency) Date proceeding initiated

CG. Ashley Royal Chief Judge dba IN THE UNITED STATED DISTRICT COURT OF MIDDLE DISTRICT OF GEORGIA MAY 7, 2002

Address of court Docket number of proceeding

475 Mulberry Street §:02-CR-27-1-HL

City or town, state, and ZIP code Date Time a.m.| Place of other proceedings
Macon, Georgia 31202 N/A N/A p.m. | SEE INMATE #17911-054 CASE

 

 

 

 

Signature

| certify that | have the authority to execute this no

Please 1 Sf,
Sign ) Lint at oI 1 Executor ia - JO - 20 U(

Fiduciary’s signature f . Title, if applicable Date

   

 

 

duciary relationship on behaif of the taxpayer.

 

 

Form 56 (Rev. 12-2007)

     

 

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: NOTARY PUBLIC

FULTON COUNTY GEORGIA

MY COMMISSION EXPIRES
DECEMBER 4, 2015
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 25o0f 74.
RE S43 060 6959 US

 

IN THE UNITED STATES DISTRICT COURTFOR “© .
THE MIDDLE DISTRICT OF GEORGIA ‘“
MACON DIVISION
(Redacted Version)
SUPERSEDING INDICTMENT

 

UNITED STATES OF AMERICA

 

VS. CRIM. NO.

Pato aw laweul

ONS
VIOLATIONS: mM =

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)
DWIGHT D. YORK, A/K/A )
DR. MALACHI Z. YORK, A/K/A_) 18 U.S.C. § 1962(d)-RICO Conspiracy
ISA MUHAMMAD, A/K/A ) 18 U.S.C. § 1962(c)-RICO Acts
ISA AL HAADI AL MAHDI AND) 18 U.S.C. § 371-MANN Act Conspiracy
A/K/A “BABA” ) 18 U.S.C. § 2423(a)-MANN Act- Minor Transport
) 18 U.S.C. § 2423(b)}-MANN Act Travel
) 18 U.S.C. § 3283-MANN Act Limitations Statute
) 18 U.S.C. § 2—Aiding and Abetting
) 31 U.S.C. § 5324(a)(3)-Structuring Cash
) 18 U.S.C. §1963-RICO Forfeiture
) 18 U.S.C. § 2253(a)(3)-MANN Act Forfeiture
) 18°U.S.C. § 2253(0}-MANN Act Forfeiture

 

THE GRAND JURY CHARGES:

COUNT ONE

   
 
 
 

I oe the Defendant
wo

cat N VORK, alk/a

DI and a/k/a “BABA”

  

which was engaged in, and the agt fties of which affected, interstate commerce, did knowingly
and willfully combine, conspire, confederate and agree, and have tacit understanding with

unindicted co-conspirators and others, known and unknown to the Grand Jury, to violate Title 18,

   
 

United States Code,! ‘: ti) 1962(c); that is, to conduct and participate, directly and indirectly, in

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Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 26 of 74

the conduct of the affairs of the enterprise through a pattern of racketeering activity, as defined in
Title 18, United States Code, Sections 1961(1) and (5), which consisted of multiple acts of:

(1) transporting minors in interstate commerce for purposes of engaging in unlawful
sexual activity, which is indictable under Title 18, United States Code, Section 2423(a), and
which is defined as knowingly transporting and causing to be transported individuals who had
not attained the age of eighteen years, in interstate commerce, with the intent that such minors -
engage in unlawful sexual activity for which a person can be charged with a criminal offense,
including, but not limited to, violations of Georgia Code Sections 16-6-4 and 16-6-5, the .
individuals not having yet reached the age of twenty-five years in accordance with Title 18,
United States Code, Section 3283;

(2) traveling in interstate commerce for the purpose of engaging in unlawful sexual
activity with minors, which is indictable under Title 18, United States Code, Section 2423 (b),
and which is defined as knowingly traveling in interstate commerce for the purpose of engaging
in an unlawful sexual act as defined in Title 18, United States Code, Section 2246(2), with a
person under the age of eighteen, and under such circumstances as would constitute a violation of
Title 18, United States Code, Section 2243(a), had the sexual acts occurred in the special
maritime and territorial jurisdiction of the United States, the person not having yet
reached the age of twenty-five years in accordance with Title 18, United States Code, Section
3283; and

(3) structuring cash transactions to evade currency transactions reporting
requirements, which is indictable under Title 31, United States Code, Section 5324(a)(3), and

which is defined as knowingly and willfully, and for the purpose of evading reporting
Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 27 of 74

requirements of Title 31, United States Code, Section 5313(a), and the regulations promulgated
therein, assisting in structuring a financial transaction with a domestic financial institution,
whose deposits were then insured by the Federal Deposit Insurance Corporation, by making
multiple deposits of United States currency in amounts less than $10,000.00, in violation of Title
31, United States Code, Section 5324(a)(3), in connection with Title 31, United States Code,

Section 5313(a), and Title 18, United States Code, Section 2.

A. THE ENTERPRISE

At all times material to this Superseding Indictment, there existed an organization,
currently called the United Nation of Nuwaubian Moors (hereinafter referred to as the
“Nuwaubians”), that was also known as The Tents of Kedar, Ansaru Allah Community, Ancient
Mystic Order of the Melchizedek and Al Mahdi Shriners. The Nuwaubians operated primarily
in Kings County, New York, Sullivan County, New York, Athens-Clarke County, Georgia, Bibb
County, Georgia, and Putnam County, Georgia. The Nuwaubians were a religious organization
that consisted of approximately 5,000 members; including, but not limited to, DWIGHT YORK
and unindicted co-conspirators and others, both known and unknown to the Grand Jury.

At all times material to this Superseding Indictment, the Nuwaubians, including its
leadership and members, constituted an “enterprise,” as defined by Title 18, United States Code,
Section 1961(4); that is, a group of individuals associated in fact, although not a legal entity. The
enterprise constituted an ongoing organization whose members functioned as a continuing unit
for the common purpose of achieving the objectives of the enterprise. This enterprise was

engaged in, and its activities affected, interstate commerce.
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At all times material to this Superseding Indictment, DWIGHT YORK was the leader of
the enterprise who participated in, and directed and managed other members of the enterprise in
carrying out unlawful and other activities in furtherance of the conduct of the enterprise,
including the transport of minors in interstate commerce for purposes of engaging in unlawful
sexual activity, traveling in interstate commerce for purposes of engaging in unlawful sexual

activity and the structuring of cash transactions to evade currency transactions reporting

requirements.

B. PURPOSES OF THE ENTERPRISE

It was a purpose of the enterprise that DWIGHT YORK, as the leader of the
Nuwaubians, and with the assistance of other members of the enterprise, created living
communities for men, women and children who became followers of his religious teachings.
DWIGHT YORK and other members of the enterprise would segregate minor aged boys and
girls residing in his communities from their parents, groom minors for purposes of engaging in |
unlawful sexual activity, engage with minors in unlawful sexual activity and transport minors in
interstate commerce for purposes of engaging in unlawful sexual activity.

It was a further purpose of the enterprise that DWIGHT YORK kept minor victims and
their parents, and his other followers in fear of the enterprise, and in fear of its members, ihrough
violence and threats of violence.

It was a further purpose of the enterprise that DWIGHT YORK, with the assistance of

other members of the enterprise, would and did attempt to conceal the activities of the enterprise
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from the outside community by requiring that its members, its followers and their children, reside
and work on properties owned and controlled by the enterprise.

It was a further purpose of the enterprise that DWIGHT YORK, with the assistance of
other members of the enterprise, maintained the secrecy of the enterprise by directing its
members to conceal the financial activities of the enterprise by structuring cash transactions to _

evade currency transaction reporting requirements.

C. MANNER AND MEANS OF THE ENTERPRISE

The manner and means used by the enterprise to further its goals and achieve its purposes
include the following:

(1) DWIGHT YORK directed that other members of the enterprise, his followers
and their children, live and work in tightly controlled communities that consisted of buildings
and land owned and administered by the enterprise;

(2) DWIGHT YORK created all the rules for the enterprise, its other members and
his followers and their children, and imposed punishments for infractions;

(3) | DWIGHT YORK and other members of the enterprise, taught followers that
DWIGHT YORK was a god-like figure;

(4) | DWIGHT YORK and other members of the enterprise, directed that his
followers refer to him as “Imam Esa,” terms they were taught meant “father” and “Jesus”
respectively in arabic.

(5) | DWIGHT YORK and other members of the enterprise, taught minor aged

followers to call DWIGHT YORK “Baba,” another name for father;
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(6) DWIGHT YORK directed that other members of the enterprise, its followers and
their children, live segregated by sex and age, such that women and men lived in separate houses,
and children lived in houses separate from their parents and segregated by age and sex;

7) DWIGHT YORK determined when married couples could engage in sexual
relations;

(8) | DWIGHT YORK and other members of the enterprise, claimed that the
enterprise’s residential and work communities constituted a sovereign nation, and provided
members of the enterprise and its followers with fraudulent passports;

(9) DWIGHT YORK and other members of the enterprise, taught children residing
on properties owned by the enterprise to obey DWIGHT YORK instead of their parents; ©

(10) DWIGHT YORK and other members of the enterprise, administered the

-enterprise’s communities so that residents relied on DWIGHT YORK for all necessities,
including food, clothing, money and personal hygiene items;

(11) DWIGHT YORK ordered other members of the enterprise, that were his sexual
partners, to bring minor aged boys and girls to him for purposes of engaging with them in
unlawful sexual activity;

(12) To isolate and entice child victims selected for DWIGHT YORK’S unlawful
sexual activity, DWIGHT YORK and other members of the enterprise, invited child victims to
clean and work in his private residences located on properties owned by the enterprise;

(13) DWIGHT YORK targeted minor aged siblings as victims of his unlawful sexual

activities;
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(14) DWIGHT YORK, along with other members of the enterprise, gave minor aged
victims instructions on how to perform sexual acts for and with DWIGHT YORK;

(15) DWIGHT YORK, and other members of the enterprise, showed minor victims
pornographic video tapes;

(16) DWIGHT YORK, and other members of the enterprise, told minor, female
victims that it was normal, as part of a custom purportedly practiced in Sudan, Africa, for fathers
and uncles to engage in sexual acts with their daughters and nieces for the purpose of preparing
minor females for marriage;

(17) DWIGHT YORK, and other members of the enterprise, instructed older minor
victims to recruit younger children for purposes of engaging in unlawful sexual activity;

(18) DWIGHT YORK and other members of the enterprise, employed certain
methods for grooming minor victims into engaging in unlawful sexual activity, including
promises and gifts of jewelry, food, clothing and other special privileges;

(19) DWIGHT YORK supplied minor victims with alcoholic beverages prior to
engaging with them in unlawful sexual activity;

(20) DWIGHT YORK and other members of the enterprise, sexually molested minors
in groups with other children, and in groups with members of the enterprise;

(21) DWIGHT YORK, Kathy Johnson and other members of the enterprise, video
taped DWIGHT YORK’S unlawful sexual activity with minors;

(22) DWIGHT YORK destroyed, and ordered others to destroy, pornographic video

tapes;
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(23) DWIGHT YORK and members of the enterprise, promoted a climate of fear
among minor victims through threats of violence directed at minor victims and their parents,
threats of and expulsion from the organization’s residential communities, and the loss to minors,
who refused DWIGHT YORK’S sexual advances, of gifts of food, clothing and special
privileges;

(24) DWIGHT YORK promoted the activities of the enterprise, by purchasing large,
isolated real properties where minors could be sexually molested without the knowledge of and
opposition from the outside community;

(25) DWIGHT YORK and other members of the enterprise, transported and caused to
be transported minor aged victims in interstate commerce for purposes of engaging in unlawful
sexual activity;

(26) DWIGHT YORK traveled in interstate commerce for purposes of engaging in
unlawful sexual activity with minors;

(27) DWIGHT YORK and other members of the enterprise, continued to engage in
unlawful sexual activity with victims until the victims were able to leave property owned by the
enterprise;

(28) DWIGHT YORK and other members of the enterprise, maintained the secrecy of
the enterprise by forbidding minor aged victims, when seeking medical attention, to answer the
questions of medical personnel;

(29) DWIGHT YORK further maintained the secrecy of the enterprise by using and’

threatening to use physical violence against various individuals;
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(30) DWIGHT YORK further maintained the secrecy of the enterprise by directing its

members to conceal the financial activities of the enterprise;

| (31) DWIGHT YORK and other members of the enterprise used income earned by .
the enterprise to further DWIGHT YORK’S unlawful sexual activity with minors, through the
purchases of gifts, visits to restaurants and trips to Disney World;

(32) DWIGHT YORK and other members of the enterprise, earned income for the
enterprise through three financial operations: the Holy Tabernacle Stores, the Holy Tabernacle
Ministries and the Ancient Mystic Order of the Mechizedek;

(33) DWIGHT YORK and other members of the enterprise, owned or permitted
followers to own, and operate franchises of, the Holy Tabernacle Stores: a series of stores located
in various U.S. cities that sold Nuwaubian merchandise, including books written by DWIGHT
YORK and audio and video tapes produced by DWIGHT YORK, tee shirts, candles, incense,
lotions and shampoos;

(34) DWIGHT YORK and other members of the enterprise, operated the Holy
Tabernacle Ministries, which involved a mail order service; whereby, prospective Nuwaubian
followers were required to purchase “passports” created by the enterprise at the cost of Twenty
five ($25.00) dollars annually;

(35) DWIGHT YORK and other members of the enterprise, through the operation of
the Holy Tabernacle Ministries, sold professional certifications and degrees issued by the
enterprise, including Doctorates of Divinity, and rabbi and ministerial certifications, at an

approximate cost of Fifty ($50.00) dollars each;
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(36) DWIGHT YORK and other members of the enterprise, operated the Ancient
Mystic Order of the Meichizedek (also called “AMOM”), a religious order of the enterprise, in.
which approximately 5,000 members were required to pay an annual membership fee of Twenty-
seven ($27.00) dollars;

(37) DWIGHT YORK and other members of the enterprise, by operation of the
Ancient Mystic Order of the Melchezedek, sold prayer rugs, religious pamphlets and clothing |
through a mail order service, and conducted a weekly ceremony of the Order at the Eatonton,
Putnam County, Georgia, property;

(38) DWIGHT YORK and other members of the enterprise, required that followers
assigned to work in the enterprise’s finance office collect income generated by the enterprise
through the operation of the Holy Tabernacle Stores, the Holy Tabernacle Ministries and the
Ancient Mystic Order of the Melchizedek;

(39) DWIGHT YORK and other members of the enterprise, directed that followers
. from the finance office deposit monies collected by the enterprise through the operation of the
Holy Tabernacle Stores, the Holy Tabernacle Ministries and the Ancient Mystic Order of the
Melchizedek, into one of three bank accounts maintained by the enterprise in the names of the
“Malachi Z. York d/b/a Holy Tabernacle Store,” “AMOM/Sisters of Aset,” and a personal
account in the name of “Malachi Z. York,” all at Wachovia Bank located at 1200 Mitchell Bridge
Road in Athens-Clarke County, Georgia, a financial institution whose deposits were then insured
by the Federal Deposit Insurance Corporation;

(40) DWIGHT YORK and other members of the enterprise, directed that followers

from the finance office remove dollar bills in denominations less than Fifty ($50.00) dollars

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from those monies earned by the Holy Tabernacle Stores, the Holy Tabernacle Ministries and the
Ancient Mystic Order of the Melchizedek, and deposit those small bills into one of three bank
accounts maintained by the enterprise;

(41) DWIGHT YORK and other members of the enterprise, directed that followers -
from the finance office remove dollar bills in denominations equal to and greater than Fifty
($50.00) dollars from those monies earned by the Holy Tabernacle Stores, the Holy Tabemacle
Ministries and the Ancient Mystic Order of the Melchizedek, and deliver those large bills to
DWIGHT YORK for his private use;

(42) DWIGHT YORK and other members of the enterprise, ordered followers from”
the finance office to convert monies maintained by DWIGHT YORK for his private use into
money orders labeled “donations,” and to deposit those “donations” into one of three bank
accounts maintained by the enterprise; and

(43) DWIGHT YORK and other members of the enterprise, ordered followers from
the finance office to further conceal the financial activities of the enterprise by structuring cash

transactions to evade currency transaction reporting requirements when making banking deposits.

D. OVERT ACTS

In furtherance of the conspiracy, and to effect the objects and purposes of the conspiracy,
DWIGHT YORK along with unindicted co-conspirators and others, both known and unknown
to the Grand Jury, committed various overt acts, including but not limited to, the following:

(1) In or about January 1988, at property owned by the enterprise in Kings County,

New York, members of the enterprise recruited Person-1 (Person hereafter referred to as “P”),

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for purposes of engaging in unlawful sexual activity with DWIGHT YORK, at a time when P-1
was approximately age 13; |

(2) In or about January 1988, at property owned by the enterprise in Kings County, |
New York, DWIGHT YORK, in the presence of adult, female members of the enterprise, forced
P-1 to perform oral sex on him at a time when P-1 was approximately age 13;

(3) In or about 1988, at property owned by the enterprise in Kings County, New York,
members of the enterprise brought P-17, then approximately age 13, to work in DWIGHT
YORK’S private residence, along with P-1, then approximately age 13, and P-13;

4) In or about 1988, at his private residence located on property owned by the
enterprise in Kings County, NewYork, DWIGHT YORK showed P-17 pictures of
male genitalia and pornographic video tapes, at a time when P-17 was approximately age 13;

(5) In or about 1988, at property owned by the enterprise in Kings County, New York,
members of the enterprise asked P-17, then approximately age 13, to engage in unlawful sexual
activity with DWIGHT YORK as part of a purported African custom;

(6) In or about 1988, at property owned by the enterprise in Kings County, New York,
DWIGHT YORK told P-17, then approximately age 13, that her sister, P-20, then
approximately age 7, was “cute” and to bring P-20 to his house; .

(7) In or about 1988, at property owned by the enterprise in Kings County, New York,
DWIGHT YORK, and members of the enterprise, caused P-1, then approximately age 13, to
engage in anal intercourse with DWIGHT YORK;

(8) In or about the Summer of 1991, DWIGHT YORK directed that P-1, P-17 and P-

13, move to property purchased by the enterprise in Sullivan, County, New York;

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(9) In or about 1990, at property owned by the enterprise in Sullivan County, New .
York, DWIGHT YORK anally molested P-17, who was then approximately age 15;

(10) Inor about 1990, in Sullivan County, New York, DWIGHT YORK directed
P-17, then approximately age 15, to recruit other young girls for his unlawful sexual activity,
including p-27, P-6, P-19 and P-22, all of whom were approximately age 14 at the time;

(11) In or about 1990, in a trailer located on property owned by the enterprise in
Sullivan County, New York, and used by DWIGHT YORK as his private residence, DWIGHT
YORK and other members of the enterprise, in the presence of P-1, then approximately age 14,
engaged in group sexual activity with P-17 and P-13, both of whom were approximately age 15
at the time;

(12) In or about 1991, at property owned by the enterprise in Sullivan County, New
York, DWIGHT YORK, in the presence of P-1, fondled P-8, who was approximately age 4 at
the time of the molestation;

(13) Inor about 1992, in a trailer located on property owned by the enterprise in
Sullivan County, New York, and used by DWIGHT YORK as his private residence, DWIGHT
YORK, in the presence of P-1, forced P-8 to perform oral sex on him, at a time when P-8 was -
approximately age 5;

(14) Inor about 1992, in a trailer located on property owned by the enterprise in
Sullivan County, New York, and used by DWIGHT YORK as his private residence,
DWIGHT YORK engaged in group sexual activity with P-20, then approximately age 8, and P-

8, then approximately age 5;

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Case 5:02-cr-00027-CAR-CHW Document 514 Filed 01/04/12 Page 38 of 74

(15) Inor about 1992, at property owned by the enterprise in Sullivan County, New
York, DWIGHT YORK forced P-20, then approximately age 8, to perform oral sex on him;

(16)  Inor about 1992, in a trailer located on property owned by the enterprise in
Sullivan County, New York, and used by DWIGHT YORK as his private residence, DWIGHT
YORK and P-13, engaged in sexual activity with P-17 and P-20’s brother, P-21 and was
approximately age 7 at the time of the molestation;

(17) In or about 1992, at property owned by the enterprise in Sullivan County, New ©
York, DWIGHT YORK gave P-23, then approximately age 13, a gold bracelet and invited the
girl to his private residence to watch television;

(18) Inor about 1993, at property owned by the enterprise in Sullivan County, New
York, DWIGHT YORK, in the presence of P-1, fondled P-12, who was approximately age 4 at
the time of the molestation;

(19) Inor about January 1993, DWIGHT YORK and other members of the enterprise,
purchased approximately 444 acres of land located at 404 Shady Dale Road in Eatonton, Putnam
County, Georgia, for the purpose of relocating the enterprise from Sullivan County, New York:

(20) Inor about February 1993, DWIGHT YORK directed Kathy Johnson and P-1 to
travel from Sullivan County, New York, to the enterprise’s new location in Putnam County,
Georgia;

(21) Inor about February 1993, DWIGHT YORK directed P-1 to create a list of his
followers residing in Sullivan County, New York, including their respective ages, from which he

selected those individuals whom he desired to relocate to the enterprise’s new location in Putnam

County, Georgia;

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(22) Inor about February 1993, DWIGHT YORK, and other members of the
enterprise known and unknown to the Grand Jury, transported and caused to be transported, P- 12,
a minor at the time, from Sullivan County, New York, to Putnam County, Georgia, for the
purpose of continuing to engage with DWIGHT YORK in unlawful sexual activity;

(23) Inor about April 1993, DWIGHT YORK directed Kathy Johnson and P-1 to
arrange for the transport of certain of his followers from Sullivan County, New York, to the
enterprise’s new location in Putnam County, Georgia;

(24) nor about April 1993, DWIGHT YORK and other members of the enterprise,
directed that minors, with whom DWIGHT YORK and other members of the enterprise were
engaged in unlawful sexual activity, move to Putnam County, Georgia, with the first groups of
Nuwaubian followers to relocate to Putnam County, Georgia;

(25) In or about April 1993, DWIGHT YORK, and other members of the enterprise
known and unknown to the Grand Jury, caused P-23, a minor at the time, to be transported from
Kings County, New York, to Bibb County, Georgia, for the purpose of continuing to engage with
DWIGHT YORK in unlawful sexual activity; -

(26) In or about April1993, DWIGHT YORK, and other members of the enterprise
known and unknown to the Grand Jury, caused P-8, P-20and P-21, all minors at the time, to be
transported from Sullivan County, New York, to Putnam County, Georgia, for the purpose of
continuing to engage with DWIGHT YORK in unlawful sexual activity;

(27) Between in or about April 1993, through in or about September 2000,
DWIGHT YORK directed P-9 to refuse to complete Currency Transaction Reports

(CTRs) when making cash deposits into bank accounts maintained by the enterprise;

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(28) Between in or about April 1993, through in or about September 2000, DWIGHT
YORK told P-9 to refuse to complete Currency Transaction Reports (CTRs) when making cash
deposits into bank accounts maintained by the enterprise, in order to prevent the Internal
Revenue Service from questioning the activities of the enterprise;

(29) On August 2, 1993, P-1 at age 17, bore a son fathered by DWIGHT YORK;

(30) | In or about 1993, at his private residence in Putnam County, Georgia, DWIGHT
YORK, in the presence of P-1, forced P-20, then approximately age 9, to perform oral sex on
him;

(31)  Inor about 1993, at his private residence in Putnam County, Georgia, DWIGHT
YORK anally molested P-20, then approximately age 10;

(32) In or about 1993, at his private residence in Putnam County, Georgia, DWIGHT
YORK, in the presence of P-1, inserted his penis into the mouth of P-6’s brother, P-5, who was
then approximately age 13;

(33) Inor about 1993, in Putnam County, Georgia, DWIGHT YORK directed P-5,
then approximately age 13, to bring P-21, then approximately age 8, to him (DWIGHT YORK);

(34) Inor about 1993, at his private residence in Putnam County, Georgia, DWIGHT
YORK and Kathy Johnson engaged in sexual activity, including oral sex, with P-5, then
approximately age 13, and P-21, then approximately age 8;

(35) In or about November 1993, at DWIGHT YORK’S direction, P-1 approached P-
23 in Putnam County, Georgia, and told P-23 that DWIGHT YORK wished to have sex with

her as part of a purported custom in Sudan, Africa, at a time when P-23 was approximately age

14;

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(36) Inor about November 1993, DWIGHT YORK took P-23 to dinner and bought P-
23 new clothes and a ring; |

(37) On or about November 20, 1993, DWIGHT YORK, at his private residence in |
Putnam County, Georgia, forced P-23 and P-25, both approximately age 14 at the time, to engage
together with him in oral and vaginal sex;

(38) Inor about November 1993, at his private residence in Putnam County, Georgia,

DWIGHT YORK engaged in anal sex with P-23, then approximately age 14;

(39) Inorabout November 1993, at the private residence of DWIGHT YORK in
Putnam County, Georgia, Kathy Johnson performed oral sex on and inserted her fingers into the
vagina of P-23, then approximately age 14;

(40) Inor about 1994, at his private residence in Putnam County, Georgia, DWIGHT
YORK directed P-19 to perform oral sex on P-5, who was then approximately
age 14;

(41) Inor about 1994, at his private residence in Putnam County, Georgia, DWIGHT
YORK, in the presence of P-21, then approximately age 9, forced P-12, then approximately age
5, to perform oral sex on DWIGHT YORK;

(42) Inor about 1995, at his private residence in Putnam County, Georgia, DWIGHT
YORK, along with Kathy Johnson, P-13 and P-19, engaged in sexual activity with P-20, then |
approximately age 11, in groups with other minors, including P-7, P-8, P-11, P-14, P-26 and
P-23; |

(43) Inor about 1996, DWIGHT YORK directed P-26 to bring P-15, then

approximately age 10, to his private residence in Putnam County, Georgia to clean;

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(44) In or about 1996, while cleaning at DWIGHT YORK’S private residence in
Putnam County, Georgia, P-26, then approximately age 12, encouraged P-15 , then approximately
age 10, to touch DWIGHT YORK’S penis;

(45) Inor about 1996, at his private residence in Putnam County, Georgia, DWIGHT
YORK, with the participation of Kathy Johnson and in the presence of P-15, then approximately
age 11, forced P-8, then approximately age 10, to perform oral sex on him;

(46) Inor about 1996, at his private residence in Putnam County, Georgia, DWIGHT
YORK, with the participation of Kathy Johnson, vaginally and anally molested P-15 who was
then approximately age 11;

(47) Inor about 1996, DWIGHT YORK traveled from Putnam County, Georgia, to
Orange County, Florida, to engage in unlawful sexual activity with P-20, P-14 and P-26;

(48) In or about 1996, DWIGHT YORK and other members of the enterprise,
transported P-20, P-14 and P-26 from Putnam County, Georgia, to Orange County, Florida, to
engage with DWIGHT YORK in unlawful sexual activity;

(49) Inor about 1996, DWIGHT YORK, while at a hotel in Disney World located in
Orange County, Florida, with minors P-20 and P-14, forced P-26, then a minor and in the
presence of P-20, to perform oral sex on him;

(50) Inor about 1996, DWIGHT YORK, while at a hotel in Disney World located in

Orange County, Florida, with minors P-20 and P-26, forced P-14, then a minor, to sleep with him

in his bedroom;

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(51) In or about 1998, at DWIGHT YORK’S recording studio located in Putnam
County, Georgia, DWIGHT YORK told P-5’s brother, P-16, then approximately age 14, to
touch DWIGHT YORK’S penis;

(52)  Inor about 1998, at his private residence in Putnam County, Georgia, DWIGHT
YORK, in the presence of P-16, then approximately age 14, forced P-12, then approximately age
9, to perform oral sex on DWIGHT YORK;

(53) Inor about 1998, In Putnam County, Georgia, DWIGHT YORK requested that
P-23’ sister, P-24, born on August 23, 1982, watch television at his residence, after which he
forced P-24, then approximately age 16, to watch him engage in vaginal intercourse with P-1;

(54) In or about 1998, at his private residence in Putnam County, Georgia, DWIGHT
YORK engaged in unlawful sexual activity with P-24, then approximately age 16, in groups with
P-20 and P-10, both of whom were also minors at the time;

(55) Inor around 1998, DWIGHT YORK opened three bank accounts in the names of
the “Malachi Z. York d/b/a Holy Tabernacle Store,” account number 1311 1201, “AMOM/Sister
of Aset,” account number 13111333, and a personal account in the name of ‘‘Malachi Z. York,”
all at Wachovia Bank located at 1200 Mitchell Bridge Road in Athens-Clarke County, Georgia, a
financial institution whose deposits were then insured by the Federal Deposit Insurance
Corporation;

(56) Inor about 1999, at the property located in Athens-Clarke County, Georgia,
DWIGHT YORK forced P-20, then approximately age 15, to engage in sexual activity with’

DWIGHT YORK in groups with other minors, including P-4, P-2 and P-3, P-10 and P-15;

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(57) Inor around 1998, DWIGHT YORK directed P-1 to refuse to
complete Currency Transaction Reports (CTRs) when making cash deposits into bank
accounts maintained by the enterprise;

(58) Inor about 1999, at his private residence in Putnam County, Georgia, DWIGHT
YORK, in the presence of P-8, forced P-16’s sister, P-4, then approximately age 12, to touch his
penis;

(59) Inor about 1999, DWIGHT YORK and other members of the enterprise,
purchased an approximately 10,000 square foot residence in Athens-Clarke County, Georgia,
located at 155 Mansfield Court, where DWIGHT YORK moved the financial office of the
enterprise;

(60) On September 29, 1999, P-1 wrote a Wachovia Bank deposit slip for cash
proceeds for Holy Tabernacle Store, account number 13111201, in the amount of $7,562.00, for
purposes of evading currency transaction reporting requirements;

(61) OnSeptember 29, 1999, a member of the enterprise deposited into account
number 13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount
of $7,562.00, for purposes of evading currency transaction reporting requirements;

(62) On September 30, 1999, P-1 wrote a Wachovia Bank deposit slip for cash
proceeds for Holy Tabernacle Store, account number 13111201, in the amount of $110.00, for
purposes of evading currency transaction reporting requirements;

(63) On September 30, 1999, a member of the enterprise deposited into account
number 13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount

of $110.00, for purposes of evading currency transaction reporting requirements;

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(64) On September 30, 1999, P-1 wrote a Wachovia Bank deposit slip for cash
proceeds for Holy Tabernacle Store, account number 13111201, in the amount of $8,300.00, for
purposes of evading currency transaction reporting requirements;

(65) On September 30, 1999, a member of the enterprise deposited into account
number 13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount
of $8,300.00, for purposes of evading currency transaction reporting requirements;

(66) On October 6, 1999, P-1 wrote a Wachovia Bank deposit slip for cash proceeds
for Holy Tabernacle Store, account number 13111201, in the amount of $4,833.00, for purposes
of evading currency transaction reporting requirements;

(67) On October 6, 1999, a member of the enterprise deposited into account number
13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount of
$4,833.00, for purposes of evading currency transaction reporting requirements;

(68) On October 8, 1999, P-1 wrote a Wachovia Bank deposit slip for cash proceeds
for Holy Tabernacle Store, account number 13111201, in the amount of $4,000.00, for purposes
of evading currency transaction reporting requirements;

(69) On October 8, 1999, a member of the enterprise deposited into account number |
13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount of
$4,000.00, for purposes of evading currency transaction reporting requirements;

(70) On October 8, 1999, P-1 wrote a Wachovia Bank deposit slip for cash proceeds
for Holy Tabernacle Store, account number 13111201, in the amount of $2,803.00, for purposes

of evading currency transaction reporting requirements;

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(71) On October 8, 1999, a member of the enterprise deposited into account number
13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount of
$2,803.00, for purposes of evading currency transaction reporting requirements;

(72) Inor around January 2000, DWIGHT YORK threatened to kill P-20 and P-8;

(73) On April 5, 2000, P-1 wrote a Wachovia Bank deposit slip for cash proceeds for
Holy Tabernacle Store, account number 13111201, in the amount of $8,876.00, for purposes of
evading currency transaction reporting requirements;

(74) On April 5, 2000, a member of the enterprise deposited into account number
13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount of
$8,876.00, for purposes of evading currency transaction reporting requirements;

(75) On April 11, 2000, P-1 wrote a Wachovia Bank deposit slip for cash proceeds for
Holy Tabernacle Store, account number 13111201, in the amount of $7,805.00, for purposes of
evading currency transaction reporting requirements;

(76) On April 11, 2000, a member of the enterprise deposited into account number
13111201 at Wachovia Bank, cash proceeds from Holy Tabernacle Store, in the amount of
$7,805.00, for purposes of evading currency transaction reporting requirements;

(77) Inor about November 2000, DWIGHT YORK told P-15 that he believed P-20
wrote a letter to the Sheriff of Eatonton, Georgia, and that he (YORK) knew someone in the state
of Virginia that could be hired to kill P-20;

(78) Inor about February 2001, DWIGHT YORK hit, kicked and threatened to have

P-1 killed after P-1 asked to leave the property in Putnam County, Georgia;

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(79) On Apmil 23, 2002, DWIGHT YORK drove to an “O’Charley’s” restaurant in ~
Covington, Georgia, with minors P-4, P-2 and P-3, P-18 and P-26, all of whom were then minors
that DWIGHT YORK was engaging in unlawful sexual activity; and

(80) On April 24, 2002, DWIGHT YORK told P-22 that followers cooperating with a
criminal investigation being conducted by the Sheriff of Putnam County, Georgia, needed to be
“taken care of.”

All in violation of Title 18, United States Code, Section 1962(d).

COUNT TWO
A. THE RACKETEERING VIOLATION
1. Paragraphs C and D of COUNT ONE of this Superseding Indictment are re-alleged and
incorporated by reference herein.
2. From in or about January 1988, and continuing through on or about May 8, 2002,
in the Middle District of Georgia, and elsewhere within the jurisdiction of this Court, the
Defendant, |
DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA”
(hereinafter referred to as “DWIGHT YORK’”’)

and others known and unknown to the Grand Jury, being persons employed by and associated
with the Nuwaubians described above, which was an enterprise engaged in, and the activities of
which affected, interstate commerce, unlawfully and knowingly conducted and participated,

directly and indirectly, in the conduct of the affairs of the enterprise through a pattern of

racketeering activity; that is, through the commission of the following Racketeering Acts, as set
forth in Paragraph B below.

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B. THE PATTERN OF RACKETEERING ACTIVITY
The pattern of racketeering activity as defined in Title 18, United States Code, Sections
1961(1) and 1961(5), consisted of the following acts:

1, Racketeering Act One—
Transporting Minors in Interstate Commerce for Unlawful Sexual Activity

In or about February 1993, in the Middle District of Georgia, and elsewhere within the

jurisdiction of this Court, the Defendant,
DWIGHT YORK

and others known and unknown to the Grand Jury, knowingly transported and caused to be
transported P-12, an individual who had not attained the age of eighteen years, in interstate
commerce from Sullivan County, New York, to Putnam County, Georgia, with the intent that
such minor continue to engage in unlawful sexual activity for which a person can be charged
with a criminal offense, including, but not limited to, violations of Georgia Code Sections 16-6-4
and 16-6-5, the individual not having yet reached the age of twenty-five years in accordance with
Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,
Sections 2423(a) and 2.

2. Racketeering Act Two—
Transporting Minors in Interstate Commerce for Unlawful Sexual Activity

In or about April 1993, in the Middle District of Georgia, and elsewhere within the

jurisdiction of this Court, the Defendant,

DWIGHT YORK
and others known and unknown to the Grand Jury, knowingly transported and caused to be

transported P-8, P-20 and P-21, individuals who had not attained the age of eighteen years, in

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interstate commerce from Sullivan County, New York, to Putnam County, Georgia, with the
intent that such minors engage in unlawful sexual activity for which a person can be charged with
a criminal offense, including, but not limited to, violations of Georgia Code Sections 16-6-4 and
16-6-5, the individuals not having yet reached the age of twenty-five years in accordance with
Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,
Sections 2423(a) and 2.

3. Racketeering Act Three—
Transporting Minors in Interstate Commerce for Unlawful Sexual Activity

In or about April 1993, in the Middle District of Georgia, and elsewhere within the

jurisdiction of this Court, the Defendant,
DWIGHT YORK

and others known and unknown to the Grand Jury, knowingly transported and caused to be
transported P-23, an individual who had not attained the age of eighteen years, in interstate
commerce from Kings County, New York, to Bibb County, Georgia, and Putnam County,
Georgia, with the intent that such minor engage in unlawful sexual activity for which a person
can be charged with a criminal offense, including, but not limited to, violations of Georgia Code
Sections 16-6-4 and 16-6-5, the individuals not having yet reached the age of twenty-five years in
accordance with Title 18, United States Code, Section 3283, all in violation of Title 18, United
States Code, Sections 2423(a) and 2.

4. Racketeering Act Four—
Transporting Minors in Interstate Commerce for Unlawful Sexual Activity

In or about 1996, in the Middle District of Georgia, and elsewhere within the jurisdiction

of this Court, the Defendant,

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DWIGHT YORK
and others known and unknown to the Grand Jury, knowingly transported and caused to be
transported P-20, P-14 and P-26, all individuals who had not attained the age of eighteen years,
in interstate commerce from Putnam County, Georgia, to Orange County, Florida, with the intent
that such minors engage in unlawful sexual activity for which a person can be charged with a
criminal offense, including, but not limited to, violations of Georgia Code Sections 16-6-4 and
16-6-5, the individuals not having yet reached the age of twenty-five years in accordance with
Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,

Sections 2423(a) and 2.

5. Racketeering Act Five—
Structuring Cash Transaction to Evade Currency Transactions Reporting
Requirements

Between on or about September 29, 1999 and on or about September 30, 1999, in the

Middle District of Georgia, the Defendant,
DWIGHT YORK

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction
with a domestic financial institution, by directing others known and unknown to the Grand Jury,
to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$7,562.00 in United States currency to be deposited into an account for the Holy Tabemacle
Store, account number 13111201, on or about September 29, 1999, by causing $110.00 in United

States currency to be deposited into an account for the Holy Tabernacle Store, account number

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13111201, on or about September 30, 1999, and by causing $8,300.00 in United States currency
to be deposited into an account for the Holy Tabernacle Store, account number 13111201, on or
about September 30, 1999, all at Wachovia Bank located at 1200 Mitchell Bridge Road in
Athens-Clarke County, Georgia, a financial institution whose deposits were then insured by the
Federal Deposit Insurance Corporation, in violation of Title 31, United States Code, Section
5324(a)(3), in connection with Title 31, United States Code, Section 5313(a), and Title 18,

United States Code, Section 2.

6. Racketeering Act Six—
Structuring Cash Transaction to Evade Currency Transactions Reporting
Requirements

Between on or about October 6, 1999 and on or about October 8, 1999, in the Middle

District of Georgia, the Defendant,
DWIGHT YORK

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction
with a domestic financial institution, by directing others known and unknown to the Grand Jury,
to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$4,833.00 in United States currency to be deposited into an account for the Holy Tabernacle
Store, account number 13111201, on or about October 6, 1999, by causing $4,000.00 in United
States currency to be deposited into an account for the Holy Tabernacle Store, account number
13111201, on or about October 8, 1999, and by causing $2,803.00 in United States currency to

be deposited into an account for the Holy Tabernacle Store, account number 13111201, on or

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about October 8, 1999, all at Wachovia Bank located at 1200 Mitchell Bridge Road in Athens-_
Clarke County, Georgia, a financial institution whose deposits were then insured by the Federal
Deposit Insurance Corporation, in violation of Title 31, United States Code, Section 5324(a)(3),
in connection with Title 31, United States Code, Section 5313(a), and Title 18, United States
Code, Section 2.

7. Racketeering Act Seven—
Structuring Cash Transaction to Evade Currency Transactions Reporting
Requirements

Between on or about April 5, 2000 and on or about April 11, 2000, in the Middle District

of Georgia, the Defendant,
DWIGHT YORK

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction
with a domestic financial institution, by directing others known and unknown to the Grand Jury,
to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$8,876.00 in United States currency to be deposited into an account for the Holy Tabernacle
Store, account number 13111201, on or about April 5, 2000, and by causing $7,805.00 in United
States currency to be deposited into an account for the Holy Tabernacle Store, account number
13111201, on or about April 11, 2000, all at Wachovia Bank located at 1200 Mitchell Bridge
Road in Athens-Clarke County, Georgia, a financial institution whose deposits were then insured

by the Federal Deposit Insurance Corporation, in violation of Title 31, United States Code,

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Section 5324(a)(3), in connection with Title 31, United States Code, Section 5313(a), and Title
18, United States Code, Section 2.

All in violation of Title 18, United States Code, Sections 1962(c) and 2.

COUNT THREE
(Conspiracy to Transport Minors in Interstate Commerce for Unlawful Sexual Activity and
Conspiracy to Commit Structuring of Cash Transactions)

1. ‘COUNTS ONE and TWO of this Superseding Indictment, are re-alleged and
incorporated by reference herein.
2. From in or about January 1988, and continuing through May 8, 2002, in the Macon
Division of the Middle District of Georgia, and elsewhere within the jurisdiction of this Court,

the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

knowingly and willfully conspired with unindicted co-conspirators and others, both known and
unknown to the Grand Jury, to commit certain offenses against the United States in violation of
Title 18, United States Code, Section 371, namely:

(A) transporting minors in interstate commerce for purposes of engaging in unlawful
sexual activity, which is chargeable under Title 18, United States Code, Section 2423(a), and
which is defined as knowingly transporting and causing to be transported individuals who had
not attained the age of eighteen years, in interstate commerce, with the intent that such minors -
engage in unlawful sexual activity for which a person can be charged with a criminal offense,

including, but not limited to, violations of Georgia Code Sections 16-6-4 and 16-6-5, the

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individuals not having yet reached the age of twenty-five years in accordance with Title 18, .
United States Code, Section 3283;

(B) _ traveling in interstate commerce for the purpose of engaging in unlawful sexual
activity with minors, which is indictable under Title 18, United States Code, Section 2423(b),
and which is defined as knowingly traveling in interstate commerce for the purpose of engaging
in an unlawful sexual act as defined in Title 18, United States Code, Section 2246(2), with a
person under the age of eighteen, and under such circumstances as would constitute a violation of
Title 18, United States Code, Section 2243(a), had the sexual acts occurred in the special
maritime and territorial jurisdiction of the United States, the person not having yet
reached the age of twenty-five years in accordance with Title 18, United States Code, Section
3283; and

(C) _ structuring cash transactions to evade currency transactions reporting
requirements, which is chargeable under Title 31, United States Code, Section 5324(a)(3), and
which is defined as knowingly and willfully, and for the purpose of evading reporting
requirements of Title 31, United States Code, Section 5313(a), and the regulations promulgated
therein, assisting in structuring a financial transaction with a domestic financial institution,
whose deposits were then insured by the Federal Deposit Insurance Corporation, by making
multiple deposits of United States currency in amounts less than $10,000.00, in violation of Title
31, United States Code, Section 5324(a)(3), in connection with Title 31, United States Code,

Section 5313(a), and Title 18, United States Code, Section 2.

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COUNT FOUR
(Transporting Minors in Interstate Commerce for Unlawful Sexual Activity)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.

2. In or about February 1993, in the Middle District of Georgia, and elsewhere within the ~
jurisdiction of this Court, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

and others known and unknown to the Grand Jury, knowingly transported and caused to be
transported P-12, an individual who had not attained the age of eighteen years, in interstate
commerce from Sullivan County, New York, to Putnam County, Georgia, with the intent that
such minor engage in unlawful sexual activity for which a person can be charged with a criminal
offense, including, but not limited to, violations of Georgia Code Sections 16-6-4 and 16-6-5, the
individuals not having yet reached the age of twenty-five years in accordance with

Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,
Sections 2423(a) and 2.

COUNT FIVE
(Transporting Minors in Interstate Commerce for Unlawful Sexual Activity)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.
2. In or about April 1993, in the Middle District of Georgia, and elsewhere within the
jurisdiction of this Court, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a

ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

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and others known and unknown to the Grand Jury knowingly transported and caused to be
transported P-8, P-20 and P-21, all individuals who had not attained the age of eighteen years, in
interstate commerce from Sullivan County, New York, to Putnam County, Georgia, with the
intent that such minors engage in unlawful sexual activity for which a person can be charged with
a criminal offense, including, but not limited to, violations of Georgia Code Sections 16-6-4 and
16-6-5, the individuals not having yet reached the age of twenty-five years in accordance with
Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,

Sections 2423(a) and 2.

COUNT SIX
(Transporting Minors in Interstate Commerce for Unlawful Sexual Activity)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.

2. In or about April 1993, in the Middle District of Georgia, and elsewhere within the
jurisdiction of this Court, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

and others known and unknown to the Grand Jury knowingly transported and caused to be
transported P-23, an individual who had not attained the age of eighteen years, in interstate
commerce from Kings County, New York, to Bibb County, Georgia, and Putnam County,
Georgia, with the intent that such minor engage in unlawful sexual activity for which a person
can be charged with a criminal offense, including, but not limited to, violations of Georgia Code

Sections 16-6-4 and 16-6-5, the individuals not having yet reached the age of twenty-five years in

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accordance with Title 18, United States Code, Section 3283, all in violation of Title 18, United
States Code, Sections 2423(a) and 2.
COUNT SEVEN
(Traveling in Interstate Commerce to Engage in Unlawful Sexual Activity with Minors) -
1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.
2. In or about 1996, in the Middle District of Georgia and elsewhere within the jurisdiction

-of this Court, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

knowingly traveled in interstate commerce, from Putnam County, Georgia, to Orange County,
Florida, for the purpose of engaging in an unlawful sexual act as defined in Title 18, United
States Code, Section 2246(2), with a person under the age of eighteen, and under such
circumstances as would constitute a violation of Title 18 United States Code, Section 2243(a),.
had the sexual acts occurred in the special maritime and territorial jurisdiction of the United
States, the person not having yet reached the age of twenty-five years in accordance with Title
18, United States Code, Section 3283, all in violation of Title 18, United States Code, Sections
2423(b).

COUNT EIGHT
(Transporting Minors in Interstate Commerce for Unlawful Sexual Activity)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and

incorporated by reference herein.

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2. _ Inor about 1996, in the Middle District of Georgia, and elsewhere within the jurisdiction

of this Court, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

and others known and unknown to the Grand Jury, knowingly transported and caused to be
transported P-20, P-14 and P-26, all individuals who had not attained the age of eighteen years,
in interstate commerce from Putnam County, Georgia, to Orange County, Florida, with the intent
that such minors engage in unlawful sexual activity for which a person can be charged with a
criminal offense, including, but not limited to, violations of Georgia Code Sections 16-6-4 and
16-6-5, the individuals not having yet reached the age of twenty-five years in accordance with
Title 18, United States Code, Section 3283, all in violation of Title 18, United States Code,
Sections 2423(a) and 2.

COUNT NINE
(Structuring Cash Transaction to Evade Currency Transactions Reporting Requirements)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.

2. Between on or about September 29, 1999 and on or about September 30, 1999, in the
Middle District of Georgia, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction
with a domestic financial institution, by directing others known and unknown to the Grand J ury,

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to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$7,562.00 in United States currency to be deposited into an account for the Holy Tabernacle
Store, account number 13111201, on or about September 29, 1999, by causing $110.00 in United
States currency to be deposited into an account for the Holy Tabernacle Store, account number
13111201, on or about September 30, 1999, and by causing $8,300.00 in United States currency
to be deposited into an account for the Holy Tabernacle Store, account number 1311 1201, on or
about September 30, 1999, all at Wachovia Bank located at 1200 Mitchell Bridge Road in
Athens-Clarke County, Georgia, a financial institution whose deposits were then insured by the
Federal Deposit Insurance Corporation, in violation of Title 31, United States Code, Section
5324(a)(3), in connection with Title 31, United States Code, Section 5313(a), and Title 18,

United States Code, Section 2.
COUNT TEN
(Structuring Cash Transaction to Evade Currency Transactions Reporting Requirements)
1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by reference herein.
2. Between on or about October 6, 1999 and on or about October 8, 1999, in the Middle
District of Georgia, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction
with a domestic financial institution, by directing others known and unknown to the Grand Jury,

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to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$4,833.00 in United States currency to be deposited into an account for the Holy Tabernacle
Store, account number 13111201, on or about October 6, 1999, by causing $4,000.00 in United
States currency to be deposited into an account for the Holy Tabernacle Store, account number
13111201, on or about October 8, 1999, and by causing $2,803.00 in United States currency to
be deposited into an account for the Holy Tabernacle Store, account number 13111201, on or
about October 8, 1999, all at Wachovia Bank located at 1200 Mitchell Bridge Road in Athens-
Clarke County, Georgia, a financial institution whose deposits were then insured by the Federal
Deposit Insurance Corporation, in violation of Title 31, United States Code, Section 5324(a)(3),
in connection with Title 31, United States Code, Section 5313(a), and Title 18, United States

Code, Section 2.

COUNT ELEVEN
(Structuring Cash Transaction to Evade Currency Transactions Reporting Requirements)

1. Paragraph A of COUNT ONE of this Superseding Indictment is re-alleged and
incorporated by refererice herein.
2. Between on or about April 5, 2000 and on or about April 11, 2000, in the Middle District

of Georgia, the Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA,”

aided and abetted by others known and unknown to the Grand Jury, knowingly and willfully, and
for the purpose of evading reporting requirements of Title 31, United States Code, Section
5313(a), and the regulations promulgated therein, assisted in structuring a financial transaction

with a domestic financial institution, by directing others known and unknown to the Grand Jury,

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to only deposit United States currency in an amount less than $10,000.00; to wit: by causing
$8,876.00 in United States currency to be deposited into an account for the Holy Tabernacle
| Store, account number 13111201, on or about April 5, 2000, and by causing $7,805.00 in United
States currency to be deposited into an account for the Holy Tabernacle Store, account number
13111201, on or about April 11, 2000, all at Wachovia Bank located at 1200 Mitchell Bridge
Road in Athens-Clarke County, Georgia, a financial institution whose deposits were then insured
by the Federal Deposit Insurance Corporation, in violation of Title 31, United States Code,
Section 5324(a)(3), in connection with Title 31, United States Code, Section 5313(a), and Title
18, United States Code, Section 2.
COUNT TWELVE

(RICO Forfeiture Allegation)

1. The allegations contained in COUNTS ONE through TWO of this Superseding
Indictment are hereby re-alleged and incorporated by reference into this Count for the purpose of
alleging forfeiture to the United States of America, pursuant to the provisions of Title 18, United
States Code, Section 1963. Pursuant to Rule 32.2, Fed.R.Crim-P., notice is hereby given to the
Defendant that the United States will seek forfeiture as part of any sentence in accordance with
Title 18, United States Code, Section 1963 in the event of DWIGHT YORK’S conviction under
COUNTS ONE through TWO of this Superseding Indictment.

2. The Defendant,

DWIGHT D. YORK, a/k/a DR. MALACHI Z. YORK, a/k/a
ISA MUHAMMAD, a/k/a ISA AL HAADI AL MAHDI and a/k/a “BABA”

i. has acquired and maintained interests in violation of Title 18,

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United States Code, Section 1962, which interests are subject to forfeiture to the United States
pursuant to Title 18, United States Code, Section 1963(a)(1); and
ii. has an interest in, security of, claims against, and property and

contractual rights which afford a source of influence over, the enterprise named and described
herein which Defendant established, operated, controlled, conducted and participated in the
conduct of, in violation of Title 18, United States Code, Section 1962, which interests, securities,
claims and rights are subject to forfeiture to the United States pursuant to Title 18, United States
Code, Section 1963(a)(2).

3. The interests of Defendant subject to forfeiture to the United States pursuant to Title.
18, United States Code, Section 1963(a)(1) and (a)(2), include, but are not limited to:

REAL PROPERTY

(1) | All that tract or parcel of land consisting of 444 Acres, more or less,
commonly known as 404 Shady Dale Road, Eatonton, Putnam County, Georgia,
and any and all appurtenances and improvements thereon, more particularly described as
follows:
Tract A: All that certain tract or parcel of land in Land Lot 231, 390th G.M.D.,

Putnam County, Georgia, containing 176.13 acres and being more fully shown and

described on a plat of same made by Edwin L. Thompson dated May 4, 1985, of record in

Plat Book 12, Page 188, records of the Clerk of Superior Cour of Putnam County,

Georgia, which plat is incorporated by reference herein in aid of this description. This is

the same property described as "Tract Five" in that certain Executor’s Deed of record in

Deed Book 5-C, Pages 304-309, Clerk ’s Office, Putnam County Superior Court and is

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the same property conveyed to Ame Lassen by deed from C. Arthur Gardner, Jr., et al.,
dated May 22, 1985, and recorded in Deed Book 6-H, Page 716, said records.

Tract B: All that tract or parcel of land containing 200.716 acres, more or
less, in the 3902 G.M.D. of Putnam County, Georgia, more particularly described
as Tracts 1 and 2 in a deed from H. Grady Leverette, Jr. to Georgia Kraft
Company dated December 22, 1978, and recorded in Deed Book 4-Z, Page 282,

Deed Records, Putnam County, Georgia, the description in said deed being incorporated
herein by reference thereto.

Tracts 1 and 2 are contiguous and are bounded, now or formerly, as follows:
Northeast by United States Forest Service and Georgia Pacific Corporation; Southeast by
H. Grady Leverette, Jr.; Southwest by William Larman, Jr.; and Northwest by Gardner
and Howard and Mrs. C. W. Pinkerton.

Tract 1, containing 183.873 acres, more or less, is more particularly described on
a plat prepared by Charles William Roberts recorded in Plat Book 7, Page 23, Putnam
County, Georgia records. Tract 2, containing 16.843 acres, more or less, is more
particularly described on a plat prepared by Ralph E. Lackey dated December 18, 1978,
and recorded in Deed Book 4-Z, Page
281, Deed Records, Putnam County, Georgia. Said plats are incorporated herein by
reference thereto.

Also conveyed is a non-exclusive 40 foot easement to the above tract of land from

Georgia Highway 142 along the common property line of property now or formerly

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owned by William Larman, Jr. and H. Grady Leverette, Jr., and being the same easement
as described in Deed Book 4-Z, Page 282, Deed Records, Putnam County, Georgia.

Tract C, Parcel 1: All that tract or parcel of land lying and being in the

 

390th G.M_D. of Putnam County, Georgia containing 61.2 acres, more or less, according
toa plat of survey for Continental Can Company, Inc. made by H. M. Brown, Georgia
R.L.S., dated October 12, 1959, and recorded in Plat Book 2, Page 173, Putnam County,
Georgia records; said plat by this reference being incorporated herein for a more
particular and accurate description of the property. Said property being more particularly
described as being bounded now and formerly as follows: Northerly and easterly by
property of Mrs. Charles Pinkerton; Southerly by property of Ame Lassen; and Westerly
by the Easterly night of way line of Georgia Highway No. 142.

Said property is conveyed subject to existing easements and rights of way, if any,
affecting or crossing said property. This is the same property conveyed from
Continental Land Sales, inc. to Southern Pine Plantations, Inc. by Limited Warranty deed
dated May 13, 1987, and recorded in the Clerk’s Office of Putnam Superior Court in
Deed Book 6-Z, Page 561.

LESS AND EXCEPT FROM THE ABOVE DESCRIBED PROPERTY:

All that tract or parcel of land, lying and being in the 390th G.M._D. Putnam
County, Georgia, containing 6.23 acres, according to a plat of survey for Ame Chr.
Lassen, dated September 10, 1988, made by Edwin L. Thompson, Georgia R.L.S., shown
as Tract #2 and recorded in Plat Book 15, Page 156, Putnam County, Georgia records;

said plat by this reference thereto being incorporated herein for a more particular and

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accurate description of said property. Said property being more particularly described as
being bounded now and formerly as follows: Northerly by property of Mrs. Jennie
(Charles) Pinkerton; Easterly by property of Mrs. Jennie (Charles) Pinkerton; and
Westerly by property of Arne Chr. Lassen and Sandra Gay Lassen.

PRIOR DEED REFERENCE: The above described 6.23 acres is the same
property as conveyed by Warranty Deed from Ame Chr. Lassen and Sandra Gay Lassen
to Mrs. Jennie (Charles) Pinkerton dated October 4, 1988, and recorded in Deed Book

7-N, Page 254, Clerk’s Office, Putnam County Superior Court.

 

Tract C, Parcel 2: All that tract or parcel of land lying and being in the 390th
G.M.D. of Putnam County, Georgia, containing 6.23 acres according to a plat of survey
for Arne Chr. Lassen, dated September 10, 1988, made by Edwin L. Thompson, Georgia
R.L.S., shown as Tract #3 and recorded in Plat Book 15, Page 156, Putnam County,
Georgia records; said plat by this reference thereto being incorporated herein for a more
particular and accurate description of said property. Said property being more
particularly described as being bounded now or formerly as follows: Easterly by property
of Mrs. Jennie (Charles) Pinkerton; Southerly by property of Arne Chr. Lassen; and
Westerly by property of Arne Chr. Lassen and Sandra Gay Lassen.

Said property is conveyed subject to existing easements and rights of way, if any,
affecting or crossing said property.

PRIOR DEED REFERENCE: The above described 6.23 acres is the same
property as conveyed by Warranty Deed from Ame Chr. Lassen and Sandra Gay

Lassen to Mrs. Jennie (Charles) Pinkerton dated October 4, 1988, and

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recorded in Deed Book 7-N, Page 252, Clerk’s Office, Putnam County Superior Court.
(2) All that tract or parcel of land more commonly known as 155 Mansfield Court,
Athens, Clarke County, Georgia, and any and all appurtenances and improvements
thereon, more particularly described as follows:

ALL THAT TRACT OR PARCEL OF LAND situated lying and being in the
1467th District, G. M., Athens-Clarke County, Georgia being known and designated as
Lot 7 of Mansfield Subdivision, as shown on a plat entitled "Survey for Section Two of.
Mansfield Subdivision", dated February 15, 1982, by Landmark Engineering Corporation,
said plat being recorded in the Office of the Clerk of the Superior Court for
Athens-Clarke County, Georgia in Plat Book 19, page 71, which said plat and the
recording thereof are by reference incorporated herein for a more complete and detailed’
description.

4. If any of the property subject to forfeiture, as a result of any act or omission of

the defendant;
A. Cannot be located upon the exercise of due diligence;
B. Has been transferred, sold to or deposited with a third person;

C. Has been placed beyond the jurisdiction of the Court;

D. Has been substantially diminished in value; or

E, Has been commingled with other property which cannot be subdivided without |
difficulty; it is the intent of the United States, pursuant to Title 18, United States Code, Section

1963(m), to seek forfeiture of any other property of the defendant up to the value of the above

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forfeitable property of DWIGHT YORK, or assets of equal value, up to the value of the above
forfeitable property.

All pursuant to Title 18, United States Code, Section 1963.

COUNT THIRTEEN
(Unlawful Transport of Minors Forfeiture Allegation) .

1. The allegations contained in COUNTS ONE through ELEVEN of this Indictment are
hereby re-alleged and incorporated by reference into this Count for the purpose of alleging
forfeiture to the United States of America, pursuant to the provision of Title 18, United States
Code, Section 2253(a)(3) .

2. As a result of the commission of the aforesaid violations of Title 18, United States
Code, Sections 2423(a) and 2423(b), the defendant, DWIGHT YORK, shall forfeit to the
United States all of his interest in any and all property, real or personal, used and intended to be
used in any manner or part to commit and to facilitate the commission of the aforesaid violations,
but not limited to the following:

REAL PROPERTY

(1) All that tract or parcel of land consisting of 444 Acres, more or less,
commonly known as 404 Shady Dale Road, Eatonton, Putnam County, Georgia,
and any and all appurtenances and improvements thereon, more particularly described as
follows:

Tract A: All that certain tract or parcel of land in Land Lot 231, 390"

G.M.D., Putnam County, Georgia, containing 176.13 acres and being more fully

shown and described on a plat of same made by Edwin L. Thompson dated May

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4, 1985, of record in Plat Book 12, Page 188, records of the Clerk of Superior
Cour of Putnam County, Georgia, which plat is incorporated by reference herein
in aid of this description. This is the same property described as “Tract Five” in
that certain Executor’s Deed of record in Deed Book 5-C, Pages 304-309, Clerk’s
Office, Putnam County Superior Court and is the same property conveyed to Arne
Lassen by deed from C. Arthur Gardner, Jr., et al., dated May 22, 1985, and
recorded in Deed Book 6-H, Page 716, said records.

Tract B: All that tract or parcel of land containing 200.716 acres, more or
less, in the 390" G.M.D. of Putnam County, Georgia, more particularly described
as Tracts 1 and 2 in a deed from H. Grady Leverette, Jr. to Georgia Kraft
Company dated December 22, 1978, and recorded in Deed Book 4-Z, Page 282,

Deed Records, Putnam County, Georgia, the description in said deed being incorporated
herein by reference thereto.

Tracts 1 and 2 are contiguous and are bounded, now or formerly, as follows:
Northeast by United States Forest Service and Georgia Pacific Corporation; Southeast by
H. Grady Leverette, Jr.; Southwest by William Larman, Jr.; and Northwest by Gardner |
and Howard and Mrs. C. W. Pinkerton. |

Tract 1, containing 183.873 acres, more or less, is more particularly described on
a plat prepared by Charles William Roberts recorded in Plat Book 7, Page 23, Putnam
County, Georgia records. Tract 2, containing 16.843 acres, more or less, is more

particularly described on a plat prepared by Ralph E. Lackey dated December 18, 1978,

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and recorded in Deed Book 4-Z, Page 281, Deed Records, Putnam County, Georgia. Said
plats are incorporated herein by reference thereto.
Also conveyed is a non-exclusive 40 foot easement to the above tract of
land from Georgia Highway 142 along the common property line of property now
or formerly owned by William Larman, Jr. and H. Grady Leverette, Jr., and being
the same easement as described in Deed Book 4-Z, Page 282, Deed Records,

Putnam County, Georgia.

 

Tract C, Parcel 1: All that tract or parcel of land lying and being in the
390" G.M.D. of Putnam County, Georgia containing 61.2 acres, more or less,
according to a plat of survey for Continental Can Company, Inc. made by H. M.
Brown, Georgia R.L.S., dated October 12, 1959, and recorded in Plat Book 2,
Page 173, Putnam County, Georgia records; said plat by this referencé being
incorporated herein for a more particular and accurate description of the property.
Said property being more particularly described as being bounded now and
formerly as follows: Northerly and easterly by property of Mrs. Charles Pinkerton;
Southerly by property of Ame Lassen; and Westerly by the Easterly right of way line of
Georgia Highway No. 142.

Said property is conveyed subject to existing easements and rights of way,
if any, affecting or crossing said property. This is the same property conveyed
from Continental and Sales, inc. to Southern Pine Plantations, Inc. by Limited
Warranty deed dated May 13, 1987, and recorded in the Clerk’s Office of Putnam

Superior Court in Deed Book 6-Z, Page 561. |

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LESS AND EXCEPT FROM THE ABOVE DESCRIBED PROPERTY:

All that tract or parcel of land, lying and being in the 390" G.M.D. Putnam
County, Georgia, containing 6.23 acres, according to a plat of survey for Arne
Chr. Lassen, dated September 10, 1988, made by Edwin L. Thompson, Georgia
R.L.S., shown as Tract #2 and recorded in Plat Book 15, Page 156, Putnam
County, Georgia records; said plat by this reference thereto being incorporated
herein for a more particular and accurate description of said property. Said.
property being more particularly described as being bounded now and formerly as
follows: Northerly by property of Mrs. Jennie (Charles) Pinkerton; Easterly by
property of Mrs. Jennie (Charles) Pinkerton; and Westerly by property of Arne Chr.
Lassen and Sandra Gay Lassen.

PRIOR DEED REFERENCE: The above described 6.23 acres is the same
property as conveyed by Warranty Deed from Arne Chr. Lassen and Sandra
Gay Lassen to Mrs. Jennie (Charles) Pinkerton dated October 4, 1988, and
recorded in Deed Book 7-N, Page 254, Clerk’s Office, Putnam County Superior Court.

Tract C, Parcel 2: All that tract or parcel of land lying and being in the

 

390" G.M_D. of Putnam County, Georgia, containing 6.23 acres according to a
plat of survey for Arne Chr. Lassen, dated September 10, 1988, made by Edwin L.
Thompson, Georgia R.L.S., shown as Tract #3 and recorded in Plat Book 15, Page
156, Putnam County, Georgia records; said plat by this reference thereto being
incorporated herein for a more particular and accurate description of said property.

Said property being more particularly described as being bounded now or

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formerly as follows: Easterly by property of Mrs. Jennie (Charles) Pinkerton;
Southerly by property of Arne Chr. Lassen; and Westerly by property of Arne Chr.
Lassen and Sandra Gay Lassen.
Said property is conveyed subject to existing easements and rights of way, if any,
affecting or crossing said property.
PRIOR DEED REFERENCE: The above described 6.23 acres is the same
property as conveyed by Warranty Deed from Ame Chr. Lassen and Sandra Gay
Lassen to Mrs. Jennie (Charles) Pinkerton dated October 4, 1988, and
recorded in Deed Book 7-N, Page 252, Clerk’s Office, Putnam County Superior Court.
(2) All that tract or parcel of land more commonly known as 155 Mansfield
Court, Athens, Clarke County, Georgia, and any and all appurtenances and improvements
thereon, more particularly described as follows:
ALL THAT TRACT OR PARCEL OF LAND situated lying and being in
the 1467" District, G. M., Athens-Clarke County, Georgia being known and
designated as Lot 7 of Mansfield Subdivision, as shown on a plat entitled “Survey
for Section Two of Mansfield Subdivision”, dated February 15, 1982, by
Landmark Engineering Corporation, said plat being recorded in the Office of the
Clerk of the Superior Court for Athens-Clarke County, Georgia in Plat Book 19,
page 71, which said plat and the recording thereof are by reference incorporated
herein for a more complete and detailed description.

3. If any of the property subject to forfeiture, as a result of any act or omission of the

defendant :

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A. | Cannot be located upon the exercise of due diligence;
B. Has been transferred, sold to or deposited with a third person;
C. | Has been placed beyond the jurisdiction of the Court;
D. Has been substantially diminished in value; or
E. Has been commingled with other property which cannot be subdivided without
difficulty; it is the intent of the United States, pursuant to Title 18, United States Code, Section
2253(0), to seek forfeiture of any other property of the defendant up to the value of the above
forfeitable property of DWIGHT YORK, or assets of equal value, up to the value of the above
forfeitable property. |
All in violation of Title 18, United States Code, Section 2253 and Rule 32.2 of the
Federal Rules of Criminal Procedure.
A TRUE BILL
Asa b, fauna
FOREPERAON OF THE GRAND JURY

Presented By:

   

 

CHARD S. MOULTRIE, JR.
ABSISTANT UNITED STATES ATTORNEY
MIDDLE DISTRICT OF GEORGIA

Sethe

STEPHANIE D. THACKER
TRIAL ATTORNEY

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IN THE UNITED STATES DISTRICT COURT fy <.

   
 

 

FOR THE MIDDLE DISTRICT OF GEORGIA we
UNITED STATES OF AMERICA, — : > yy
: 7 VK
VS. :
| CASE NO. 5:02-CR-27-1-HL %, *
Z. YORK, ISA MUHAMMAD, ISA — <
ALIHAD MAHDI & BABA = ==
WARRANT FOR ARREST = 8
ct 7
Defendant = amGm
1 O0OF,0
4 Banat
OAKS
UD S35
To: The United States Marshal, Middle District of Georgia _ oo
and any Authorized United States Officer _ “Ss
wD

YOU ARE HEREBY COMMANDED to arrest Dwight D. York, a/k/a Malakai Z. York,
Isa Muhammad, Isa Alihad Mahdi & Baba and bring him/her FORTHWITH before the nearest

available judicial officer to answer a(n)
[X] Indictment [ ] Information [ ] Complaint [ ] Order of Court

[ ] Violation Notice [ ] Probation Violation Petition
O

  
   

charging him/her with Transportation of tlt sO
Travel with Intent to Engage in Se : Ac ae
Section 18:2423(a); 18:2423(b L),0€8:3289' S 18.

g Engage in Sexual Activity and
lawn violation of United States Code

     
  

 

 

 

 

 

 

 

 

Date Received Name and Title of Arresting Officer Signature of Arresting Officer
DSO22f
— ya
Date of Arrest

 

 

 

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